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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,
                                              No. 25-cv-01963 (MEF)(MAH)
              Petitioner,
                                                           OPINION
        v.

  WILLIAM P. JOYCE et al.,


              Respondents.


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                                  *   *      *
 A lawful permanent resident is held in immigration custody, and
 federal officials have begun proceedings before an immigration
 judge to remove him from the United States.
 The lawful permanent resident has moved for a preliminary
 injunction, claiming that one of the charges against him is
 unconstitutional and that this Court should therefore order him
 released.


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 In response, federal officials argue that the motion should be
 denied, in part because this Court cannot hear the case.
 Certain statutes, they say, strip the Court of jurisdiction.
 The jurisdictional argument is not persuasive.              This Opinion
 explains why.

 I.    Background

       A.    The Facts

 A lawful permanent resident 1 was arrested by federal officials.
 See Declaration of Amy E. Greer (ECF 11-1) ¶¶ 4-6; Second
 Supplemental Declaration of Acting Field Office Director William
 P. Joyce (“Joyce Declaration”) (ECF 72) ¶¶ 6-7.
 While in custody, he was handed various forms. See Declaration
 of Mahmoud Khalil (“Khalil Declaration”) (ECF 73-1) ¶¶ 4-6;
 Joyce Declaration ¶ 7.
 These said two main things.
 First, that federal officials were seeking to remove him from
 the United States based on 8 U.S.C. § 1227(a)(4)(C)(i), of which
 more in a moment. See Joyce Declaration ¶ 7.
 And second, that as part of that process he had to appear before
 an immigration judge. 2 See Khalil Declaration ¶ 5.
 The proceedings before the immigration judge are now underway.
                                *    *      *



 1  Mahmoud Khalil. A lawful permanent resident is a person who
 has “been lawfully accorded the privilege of residing
 permanently in the United States as an immigrant in accordance
 with the immigration laws[.]” 8 U.S.C. § 1101(a)(20).

 2  Removing a lawful permanent resident from the United States
 generally requires a hearing. See 8 U.S.C. § 1229a. Those
 typically go forward before an immigration judge. See id. §
 1229a(a)(1); 8 C.F.R. § 1240.10(a). An immigration judge is an
 “attorney[] whom the Attorney General appoints as [an]
 administrative judge[] . . . to conduct specified classes of
 proceedings, including [removal] hearings under section 240 of
 the [Immigration and Nationality Act].” 8 C.F.R. § 1003.10(a).

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 At an immigration court hearing earlier this month, the
 immigration judge assessed federal officials’ argument that the
 lawful permanent resident should be removed from the United
 States under 8 U.S.C. § 1227(a)(4)(C)(i).
 Under that statute, “[a]n alien whose presence or activities in
 the United States the Secretary of State has reasonable ground
 to believe would have potentially serious adverse foreign policy
 consequences for the United States is deportable.”
 The immigration judge referred to a memorandum from the
 Secretary of State to the Secretary of the Department of
 Homeland Security. See Audio Recording of Hearing (April 11,
 2025) (“April 11 Audio Recording”) at 1:34:40 to 1:34:48.
 In the memo, the Secretary of State wrote that he had
 “determined” that the Petitioner was “deportable” under Section
 1227(a)(4)(C)(i). See Memorandum from Marco Rubio, Secretary of
 State, to Kristi Noem, Secretary of Homeland Security
 (“Determination”) (ECF 198-1) at 1.
 Based on the memo, the immigration judge ruled that the
 requirements of Section 1227(a)(4)(C)(i) had been met and that
 the lawful permanent resident could therefore be removed from
 the United States. See April 11 Audio Recording at 1:37:46 to
 1:38:25.
                                *    *      *
 There are further immigration court proceedings to come.
 For example, an appeal of the immigration judge’s decision might
 be taken to the Board of Immigration Appeals. 3


 3  The Board of Immigration Appeals “function[s] as an appellate
 body charged with the review of . . . administrative
 adjudications under the [Immigration and Nationality Act].” 8
 C.F.R. § 1003.1(d)(1). It can hear appeals from a variety of
 decisions made by immigration judges. See id. § 1003.1(b). The
 Attorney General can review the decisions of the Board of
 Immigration Appeals. See id. § 1003.1(d)(7)(i), (h).
 Sometimes, the Attorney General opts to do so. See, e.g.,
 Matter of Coronado Acevedo, 28 I. & N. Dec. 648 (A.G. 2022);
 Matter of B-Z-R-, 28 I. & N. Dec. 563 (A.G. 2022); Matter of A-
 C-A-A-, 28 I. & N. Dec. 84 (A.G. 2020); Matter of O-F-A-S-, 28
 I. & N. Dec. 35 (A.G. 2020).

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 And more proceedings have been scheduled before the immigration
 judge. 4

       B.    Procedural History

 The lawful permanent resident filed a habeas corpus petition in
 a federal district court.
 From here, he is called “the Petitioner.” The various people he
 named in his habeas petition are referred to, collectively, as
 “the Respondents.” 5
                                *    *      *
 The Petitioner filed his case in New York, but it was
 transferred to New Jersey. See Khalil v. Joyce, 2025 WL 849803
 (S.D.N.Y. Mar. 19, 2025).
 In New Jersey, the Respondents moved to dismiss the case,
 arguing it should go forward in Louisiana, where the Petitioner
 is in custody. The motion was denied. The Court held that




 4  In addition to the Section 1227(a)(4)(C)(i) charge, federal
 officials have also pressed a second charge in immigration court
 against the lawful permanent resident, for allegedly not
 disclosing certain information when he applied for lawful
 permanent resident status. See Additional Charges of
 Inadmissibility/Deportability at 1. Federal officials are also
 seeking to remove the lawful permanent resident from the United
 States based on the failure-to-disclose charge. See id. The
 immigration judge has scheduled a proceeding for next month on
 that charge.
 5  The Respondents are listed in the Petition as: President of
 the United States Donald Trump; Acting Field Office Director of
 New York, United States Immigration and Customs Enforcement,
 William P. Joyce; Warden of Elizabeth Contract Detention
 Facility Yolanda Pittman; Acting Director of United States
 Immigration and Customs Enforcement Caleb Vitello; Secretary of
 the United States Department of Homeland Security Kristi Noem;
 Secretary of the United States Department of State Marco Rubio;
 and Attorney General of the United States Pamela Bondi.

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 habeas jurisdiction is proper in New Jersey. See Khalil v.
 Joyce, 2025 WL 972959 (D.N.J. Apr. 1, 2025). 6
 But as the Court noted: there are “other jurisdictional
 hurdles.” Khalil v. Joyce, 2025 WL 1019658, at *1 n.2 (D.N.J.
 Apr. 4, 2025).
 This Opinion considers them.

       C.    The Motion

 The Petitioner has moved for a preliminary injunction.             See ECF
 66.
 Through this motion, he asks the Court to order three things.
 See Petitioner’s Amended Memorandum of Law in Support of Motion
 for Preliminary Injunctive Relief (“Motion for Preliminary
 Injunction”) (ECF 124) at 9-10.
                                *    *      *
 First, and as noted above, the Secretary of State has determined
 that the Petitioner’s presence and activities in the United
 States “would have potentially serious adverse foreign policy
 consequences and would compromise a compelling U.S. foreign
 policy interest.” Determination at 1. And based on the
 Secretary’s determination, the immigration judge has ruled that
 the Petitioner can be removed from the United States. See April
 11 Audio Recording at 1:37:46 to 1:38:25.
 The Petitioner asks the Court to order that the Secretary’s
 determination be set aside, vacated. See Motion for Preliminary
 Injunction at 9.
 The determination, the Petitioner argues, was made in
 retaliation for statements the Petitioner made on political



 6  The Respondents asked the Court of Appeals to review this
 decision, and the Petitioner has opposed that request. See
 Petition for Permission to Appeal an Interlocutory Order of the
 United States District Court for the District of New Jersey
 Pursuant to 28 U.S.C. § 1292(b) at 1-2, Khalil v. President U.S.
 (No. 25-08019); Opposition to Petition for Permission to Appeal
 an Interlocutory Order of the U.S. District Court for the
 District of New Jersey Pursuant to 28 U.S.C. § 1292(b) at 1-3,
 Khalil v. President U.S. (No. 25-08019).

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 issues, and this retaliation violates the First Amendment.              See
 id. at 10-18. 7
                                *    *      *
 Second, the Petitioner alleges that the Respondents are pursuing
 a policy to “to arrest, detain, and seek to remove noncitizens
 who engage in expressive activities . . . supporting Palestinian
 rights,” id. at 4, --- and that it is because of this policy
 that federal official are seeking to remove him from the United
 States. See id.
 The Petitioner asks the Court to order that the policy be
 stopped. See id. at 9-10.
 The policy violates the First Amendment, the Petitioner says,
 because it is premised on “viewpoint discrimination,” id. at 19
 --- it operates against people who take one view in certain
 public debates, but not those who take other views.
 And the policy also violates the Fifth Amendment, the Petitioner
 says, because it is too vague --- and due process requires



 7  Two things. First, the Petitioner also argues that the
 Secretary’s determination is unconstitutionally vague. See
 Motion for Preliminary Injunction at 23-24. (But note that the
 Petitioner does not argue in his petition that Section
 1227(a)(4)(C)(i) is itself unconstitutionally vague.) Second,
 in a footnote in one of his legal briefs, the Petitioner
 references the second charge against him, the one based on his
 alleged failure to make certain disclosures in his lawful-
 permanent-resident application. See Petitioner’s Reply in
 Support of Motion for Preliminary Injunctive Relief (“Reply
 Brief”) (ECF 175) at 16 n.11. But there is no reference to this
 in the habeas petition. See Salas v. Warren, 2019 WL 3423534,
 at *1 n.1 (D.N.J. July 30, 2019) (declining to consider claims
 that the petitioner raised in his traverse, rather than his
 petition); Quang Van Nguyen v. Wenerowicz, 2013 WL 6473264, at
 *6 (E.D. Pa. Dec. 10, 2013) (similar, as to claims first raised
 in a reply brief); accord, e.g., Carrascosa v. McGuire, 520 F.3d
 249, 264 (3d Cir. 2008); St. John v. Ashcroft, 43 F. App’x 281,
 282 (10th Cir. 2002); Bracken v. Dormire, 247 F.3d 699, 702 (8th
 Cir. 2001). Nor does the legal brief purport to seek relief
 from the Court based on the second charge. No challenge to the
 second charge is before the Court.


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 precision, so that people can know in advance what the
 government might seek to do. See id. at 16.
                                *    *      *
 Third and finally, the Petitioner says he is being detained by
 immigration authorities in retaliation for the public statements
 he has made, see id. at 33, and also to “chill” him from making
 other statements. See id. This, the argument goes, violates
 the Petitioner’s First Amendment rights --- and the Court should
 therefore order the Petitioner released from custody. See id.
 at 9.

       D.    The Response

 The Petitioner, as noted, has sought a preliminary injunction as
 to each of the three things set out above.
 In doing so, the Petitioner is asking for a remedy at an early
 stage of this case, before it runs its typical and full course. 8
 To win a preliminary injunction, a litigant must show a number
 of things.
 One of them: that he is “likely” to be the ultimate winner ---
 when the case is over and done, and reaches its normal finish
 line. See, e.g., Starbucks Corp. v. McKinney, 602 U.S. 339, 345
 (2024).
 The Respondents argue that the Petitioner has not met this
 standard. See Respondents’ Opposition to Petitioner’s Motion
 for a Preliminary Injunction (“Opposition Brief”) (ECF 156) at
 8-32.
 As to why, some of the Respondents’ arguments focus on the
 merits of the case. See id. at 23-32.
 Others zero in on the Court’s power over the case --- in
 particular, on a set of statutes that the Respondents say take
 away this Court’s jurisdiction. See id. at 8-21.

 II.   The Question

 “Jurisdiction is, as always, the ‘first and fundamental
 question.’” Baymont Franchise Sys., Inc. v. Narnarayandev, LLC,


 8  For example, there has been no discovery to this point, or
 testimony.
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 348 F.R.D. 220, 227 (D.N.J. 2024) (quoting Great S. Fire Proof
 Hotel Co. v. Jones, 177 U.S. 449, 453 (1900)).
 This is because a court that does not have jurisdiction does not
 have power over a case. It cannot decide the merits, see Steel
 Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998), and
 so it should not speak to them.
 Against this backdrop, the Court will consider in this Opinion
 solely whether it has jurisdiction. Merits issues (and other
 issues, like venue) will be taken up later.
                                *    *      *
 Begin the jurisdictional analysis by getting a fuller sense of
 the main issue that is on the table.
 The Court starts off with jurisdiction here.
 The habeas corpus statute gives federal district courts
 jurisdiction over habeas cases, see 28 U.S.C. § 2241(a), and
 this is a habeas case. See Second Amended Petition (“Petition”)
 (ECF 162) ¶ 20.
 Moreover, the Court has previously ruled that it has habeas
 jurisdiction over this case in particular. See Khalil, 2025 WL
 972959.
 The question, then, is this: does anything take away the Court’s
 jurisdiction?
 The Respondents say yes, and they point to two “jurisdiction-
 stripping” statutes. See Opposition Brief at 9–20, 23.
 The statutes are in Title 8 of the United States Code, at
 Section 1252(g) and Section 1252(b)(9). Their current versions
 became law in 2005. 9
 If these statutes do not strip away this Court’s habeas
 jurisdiction, then things stay as they were and this Court
 resolves the case.
 If these statutes do strip away this Court’s habeas
 jurisdiction, then the way forward is different. The front-line
 review will be done by the immigration courts.


 9  Another statute is invoked, too. See Opposition Brief at 20–
 21. But it is mostly irrelevant here, and is therefore taken up
 only later, in Part VIII.
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  Either way, though, the next rung up on the ladder is the same.
  Whoever does the first-cut look, this Court or the immigration
  courts, what follows is review in a federal court of appeals
  (and after that, review would be possible in the Supreme
  Court). 10

  III. The Court’s Approach

  The Court first takes up the Respondents’ argument that Section
  1252(b)(9) strips jurisdiction.
  Section 1252(b)(9), it is said, prevents this Court from
  considering the Petitioner’s claim that the Secretary of State’s
  determination under Section 1227(a)(4)(C)(i) was
  unconstitutional.
  Out of the gate, this Section 1252(b)(9) argument looks strong.
  See Part IV.A.
  But ultimately, it is not persuasive.
  This is because Section 1252(b)(9) applies only after a final
  order of removal has been entered by the immigration courts.
  The words of the statute say so. See Part IV.B. And so has the
  Third Circuit. 11 See Part IV.C.
  But no final order of removal has been entered in this case.
  Therefore, Section 1252(b)(9) does not apply.


  10 The text refers to immigration courts because, as noted in
  footnote 3, certain rulings from immigration judges can be
  appealed to the Board of Immigration Appeals. Review by a
  federal court of appeals generally takes place only after the
  Board of Immigration Appeals has ruled. See, e.g., Dia v.
  Ashcroft, 353 F.3d 228, 234 (3d Cir. 2003). If this Court has
  jurisdiction and is responsible for initially handling the case,
  any appeal would be to the federal court of appeals for the
  Third Circuit. See 28 U.S.C. § 1291. If this Court does not
  have jurisdiction and the immigration courts therefore do the
  ground-floor review, then any appeal would be to the federal
  court of appeals for the circuit that covers Louisiana, where
  the Petitioner is held; that is the Fifth Circuit. See 8 U.S.C.
  § 1252(b)(2).
  11 In a case called Chehazeh v. Attorney General of the United
  States, 666 F.3d 118 (3d Cir. 2012).

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                                *     *     *
  There is, though, a wrinkle.
  In another case, 12 the Third Circuit has suggested that Section
  1252(b)(9) can apply, as here, before a final order of removal
  has been entered by the immigration courts.
  But even on the assumption that the second case is controlling,
  Section 1252(b)(9) does not remove jurisdiction from this Court
  as to the Secretary of State’s determination.
  Under the second case, Section 1252(b)(9) strips jurisdiction
  from a federal district court over a claim only when that claim
  could still get “meaningful” federal court review later ---
  after the immigration courts have wrapped up their work, and the
  claim then goes to a federal court for the first time, a federal
  court of appeals. See Part V.
  But in this case, that sort of delayed federal court review
  would not be “meaningful” federal court review.
  This is for two reasons.
  First, because there would be little to show for any such delay.
  Usually, the immigration courts can tee things up for the
  federal court of appeals, by providing a remedy for any illegal
  conduct, by finding the facts, and by applying their distinctive
  expertise. But the immigration courts cannot do any of that as
  to the Secretary of State’s determination. See Part VI.A to
  Part VI.C.
  And second, the law requires sped-up judicial review of First
  Amendment claims of the kind the Petitioner raises here. That
  is not consistent with delaying federal court review until after
  the immigration courts have finished their work and the case
  then moves to a federal court of appeals. See Part VI.D.
                                *     *     *
  Next, the Court considers the Respondents’ argument that Section
  1252(g) cuts off review here of the Secretary of State’s
  determination.



  12 EOHC v. Secretary United States Department of Homeland
  Security, 950 F.3d 177 (3d Cir. 2020).

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  But the Section 1252(g) argument does not work. It runs aground
  on the plain words of the statute and the Supreme Court’s main
  decision in this area. 13 See Part VII.
                                *     *     *
  Finally, the Court considers the alleged policy that the
  Petitioner has challenged --- and assesses whether Section
  1252(b)(9) or Section 1252(g) take away jurisdiction from this
  Court to consider it.
  As to the policy, the jurisdiction-stripping argument is not
  persuasive for most of the same reasons it was not persuasive as
  to the Secretary’s determination, plus a few more. See Part
  VIII. 14

  IV.   Section 1252(b)(9) Does Not Apply Here

  Get underway now with the jurisdictional analysis.
  The Respondents’ first argument is that Section 1252(b)(9)
  removes this Court’s jurisdiction to consider the Petitioner’s
  request for an injunction vacating the Secretary of State’s
  determination. See Opposition Brief at 9–14.
  At first, this argument looks strong.         See Part IV.A.
  But in the end, it does not work. Section 1252(b)(9) does not
  apply in cases like this one, in which a final order of removal
  has not been entered by the immigration courts. See Part IV.B.
  And the Third Circuit has confirmed as much. See Part IV.C.
  Bottom line: Section 1252(b)(9) is irrelevant here. It applies
  to post-order-of-removal cases, and this is a pre-order-of-
  removal case.

        A.   Section 1252(b)(9)

  To start off, bracket for a few moments the question of whether
  Section 1252(b)(9) does or does not apply to pre-order-of-
  removal cases like this one. Assume, instead --- and throughout



  13 The decision is Reno v. American-Arab Anti-Discrimination
  Committee, 525 U.S. 471 (1999).
  14 There is also a third statute. Its impact is marginal, and it
  is considered briefly in Part VIII.
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  this Part IV.A --- that Section 1252(b)(9) applies to such
  cases.
  Under the statute, there is a four-part test for deciding
  whether Section 1252(b)(9) removes jurisdiction over a given
  claim. See Part IV.A.2.
  Applying that test, the Court concludes that Section 1252(b)(9),
  assuming that it applies, would strip away this Court’s
  jurisdiction over the Petitioner’s claim that the Secretary of
  State’s determination is unconstitutional. See Part IV.A.3.
  That sets the stage for the question taken up in Part IV.B and
  in Part IV.C: does Section 1252(b)(9) apply in pre-order-of-
  removal cases like this one?

             1.    The Statute

  Begin, as always, with the words Congress used in the law it
  passed. See Lawson v. FMR LLC, 571 U.S. 429, 440 (2014); United
  States v. Turkette, 452 U.S. 576, 580 (1981).
  Here, those words are “clear and distinct,” Martin v. Hunter’s
  Lessee, 14 U.S. (1 Wheat.) 304, 339 (1816), so they must be
  enforced as written. See Conn. Nat’l Bank v. Germain, 503 U.S.
  249, 253–54 (1992) (collecting cases).
  And their effect here is unmissable. If Section 1252(b)(9)
  applies, there is no jurisdiction in this Court over the
  Petitioner’s challenge to the Secretary of State’s
  determination.
                                 *    *     *
  In relevant part, Section 1252(b)(9) says:
             Judicial review of all questions of law and
             fact, including interpretation and
             application of constitutional and statutory
             provisions, arising from any action taken or
             proceeding brought to remove an alien from
             the United States under this subchapter
             shall be available only in judicial review
             of a final order under this section.
  8 U.S.C. § 1252(b)(9).
                                 *    *     *


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  This part of Section 1252(b)(9) does not itself say when and
  where the “judicial review” it mentions is to take place.
  But other parts of Section 1252 do. They make clear that the
  “judicial review” alluded to in Section 1252(b)(9) is conducted
  only by federal courts of appeals, with federal district courts
  having no role. And the court of appeals’ review kicks in after
  the immigration courts are done with their work --- after the
  Board of Immigration Appeals has affirmed the immigration
  judge’s order or after the time for appealing to the Board has
  run out. 15

             2.    The Question

  As set out just above, if “judicial review” is covered by
  Section 1252(b)(9), then that review must happen only later
  (after the immigration courts have finished their work) and only
  elsewhere (in the federal court of appeals, not here).




  15 The sources for the statements in the text are laid out here.
  As to when the “judicial review” alluded to in Section
  1252(b)(9) takes place: that review is of “an order of removal
  under subsection (a)(1),” id. § 1252(b); subsection (a)(1)
  clarifies that an “order of removal” is “a final order of
  removal,” id. § 1252(a)(1) (emphasis added); and an order of
  removal becomes “final” on the earlier of “a determination by
  the Board of Immigration Appeals affirming such order” or “the
  expiration of the period in which the alien is permitted to seek
  review of such order by the Board of Immigration Appeals.” Id.
  § 1101(a)(47)(B); Yusupov v. Att’y Gen. of U.S., 518 F.3d 185,
  195 (3d Cir. 2008), as amended (Mar. 27, 2008). As to where
  “judicial review” will go forward: in a federal court of
  appeals, see 8 U.S.C. § 1252(a)(5), and in particular in the
  court of appeals that sits in “the judicial circuit in which the
  immigration judge completed the proceedings.” Id. § 1252(b)(2);
  see Castillo v. Att’y Gen. of U.S., 109 F.4th 127, 129 (3d Cir.
  2024). And critically: court of appeals review will be the
  “[e]xclusive means of review.” 8 U.S.C. § 1252(a)(5).
  Exclusive means exclusive. The federal “judicial review”
  described in Section 1252(b)(9) will happen only in a court of
  appeals. That rules out a place in the process for the district
  court.

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  The question, then, is this: is the judicial review the
  Petitioner seeks here, of the Secretary of State’s
  determination, covered by Section 1252(b)(9)?
  If it is not covered, then Section 1252(b)(9) is no hurdle to
  this Court keeping jurisdiction.
  If it is covered, Section 1252(b)(9) strips jurisdiction --- and
  review by this Court would be out of bounds.
                                *     *     *
  To answer the question, look to the front end of Section
  1252(b)(9), the part before the word “shall.”
  Again, Section 1252(b)(9):
             Judicial review of all questions of law and
             fact, including interpretation and
             application of constitutional and statutory
             provisions, arising from any action taken or
             proceeding brought to remove an alien from
             the United States under this subchapter
             shall be available only in judicial review
             of a final order under this section.
  8 U.S.C. § 1252(b)(9) (emphasis added).
  What judicial review is covered by the first half of the
  sentence?
  “Judicial review of all questions of law and fact, including
  interpretation and application of constitutional and statutory
  provisions, arising from any action taken or proceeding brought
  to remove an alien from the United States under this
  subchapter[.]” Id.
  In other words, Section 1252(b)(9) kicks in when four conditions
  are met:
             1. There is “any action . . . or proceeding,”
             2. “to remove an alien from the United States,”
             3. “under this subchapter,” and
             4. judicial review is sought as to “a[] question[] of
                law and fact” that “aris[es] from” such “action” or
                “proceeding.”
  Below, the Court ticks through these --- and concludes that each
  of the four boxes is checked.

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  What this means: Section 1252(b)(9) covers judicial review of
  the Secretary of State’s determination --- and so, if Section
  1252(b)(9) applies in the first place, 16 that Section prevents
  this Court from assessing the Secretary’s determination.

             3.    The Answer

  Section 1252(b)(9), as noted, spins off a four-part test for
  deciding whether judicial review of a claim is covered by the
  statute. See Part IV.A.2.
  As shown below, each part of the test is satisfied. 17

                   a)   “Action”

  Is the Secretary’s determination an “action” or “proceeding”
  within the meaning of Section 1252(b)(9)?
  The Court’s conclusion: it is an “action.”
  At around the time of Section 1252(b)(9)’s initial enactment in
  1996, authoritative sources understood “action” broadly. 18
  The Oxford English Dictionary defined “action” as “a thing done,
  a deed.” Action, n., sense 3.a, Oxford English Dictionary (2d

  16   Recall: that is assessed below, in Part IV.B and Part IV.C.

  17 Section 1252(b)(9)’s key terms are not defined by the
  statute. See 8 U.S.C. § 1101(a) (defining other terms in the
  statute). Therefore, the Court looks to the ordinary and
  contemporary meanings of the words Congress used in the Section.
  See Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227 (2014).
  This includes referring to time-of-enactment dictionaries, both
  general and legal. See, e.g., Sandifer, 571 U.S. at 227;
  Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S. 560, 566–67 (2012);
  see also Khalil, 2025 WL 972959, at *17.

  18 Section 1252(b)(9) was first passed in 1996, and its current
  version dates to 2005. Why the focus on 1996? Because that is
  when the relevant sentence of Section 1252(b)(9) was passed.
  See Illegal Immigration Reform and Immigrant Responsibility Act
  of 1996, Pub. L. No. 104-208, 110 Stat. 3009. In 2005, more
  words were added to Section 1252(b)(9) to specify that it
  reached habeas jurisdiction. See REAL ID Act of 2005, Pub. L.
  No. 109-13, 199 Stat. 305. But none of those words is at issue
  in this Opinion.
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  ed. 1989). And a leading legal dictionary went roughly the same
  way. See Action, Black’s Law Dictionary (6th ed. 1990)
  (“something done.”).
  In making his determination, formalized through a memorandum,
  the Secretary of State took an action. Writing or approving a
  memo is not something that just happens; it takes doing --- the
  “do[ing]” of “something.”
  The inquiry could end there.
  And it would, except that something else reinforces the
  conclusion that the Secretary’s determination is an “action.”
  Namely, Congress put the word “any” before the word “action”;
  the statute says “any action.” 8 U.S.C. § 1252(b)(9) (emphasis
  added).
  And putting “any” before a word confirms it must be understood
  in an inclusive way, to reach the outer edge of its possible
  orbit.
  A year after Section 1252(b)(9) first became law, for example,
  the Supreme Court said: “Read naturally, the word ‘any’ has an
  expansive meaning, that is, ‘one or some indiscriminately of
  whatever kind.’” United States v. Gonzales, 520 U.S. 1, 5
  (1997) (quoting Webster’s Third New International Dictionary 97
  (1976)).
  This wide-angle view of “any” matches up with a long line of
  Supreme Court cases.
  In Collector of Internal Revenue v. Hubbard, 79 U.S. 1, 15
  (1870), for example, the Supreme Court interpreted a statute
  that said certain tax suits shall not “be maintained in any
  court.” 79 U.S. at 3. It was “quite clear” that “any court”
  meant any court, federal or state. Id. at 15.
  More recently, the Court reaffirmed that “any” “ordinarily
  ‘refers to a member of a particular group or class without
  distinction or limitation’ and in this way ‘implies every member
  of the class or group.’” SAS Inst., Inc. v. Iancu, 584 U.S.
  357, 362 (2018) (cleaned up) (quoting Any, Oxford English
  Dictionary (3d ed. 2016)); see also United States v. Alvarez–
  Sanchez, 511 U.S. 350, 358 (1994).
                                *     *     *
  Bottom line:

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  The Secretary of State’s determination was a decision made as to
  the Petitioner, and it culminated in a physical thing in the
  world -- the memorandum that reflects the determination. The
  determination was “something done,” and that is what “action”
  means.
  And whatever possible doubt there might be is dissipated by
  Congress’ use of “any action.” Per that phrase, Section
  1252(b)(9) covers all actions --- without qualification, nothing
  carved out.
  This conclusion, that the Secretary’s determination is an
  “action,” is linguistically obvious.
  So much so that the Petitioner seems to see things in the same
  way. In making his determination, the Petitioner writes in his
  legal brief, the Secretary “had taken [an] action.” Motion for
  Preliminary Injunction at 17 (emphasis added); see also id. at
  1, 7, 13 (describing the challenged conduct as an “action”).
                                *     *     *
  The first of the four Section 1252(b)(9) boxes is checked.              The
  Secretary’s determination counts as an “action.”
                                *     *     *
  Before moving on, note a possible counterargument.
  Namely, it might be argued that Section 1252(b)(9) refers only
  to an “action” of the legal sort --- as in, say, a civil action,
  or some other kind of lawsuit. After all, one of the basic
  definitions of “action” is “[a] legal process or suit.” Action,
  n., sense 8, Oxford English Dictionary (2d ed. 1989).
  If this were the right understanding of Section 1252(b)(9), the
  Secretary’s determination could not be chalked up as an
  “action.” The determination is “a thing done.” Action, n.,
  sense 3, Oxford English Dictionary (2d ed. 1989). But it is not
  a lawsuit.
  This sort of reading, though, does not make sense.
  For starters, Section 1252(b)(9) does not speak of “bringing” an
  action, but of “tak[ing]” one.
  In everyday English, people “take action” all the time.             But
  people do not “take a civil action” --- they bring one.


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  That is how the words have been used for centuries. See, e.g.,
  id. (quoting 1 Tomlins, Law Dictionary (1809)) (“A man attainted
  of treason . . . cannot bring an action.”).
  And to see the proof: across 200 years, the U.S. Reports contain
  136 mentions of a “civil action brought” --- but none of a civil
  action “taken.” Cf. Delligatti v. United States, 145 S. Ct.
  797, 813 (2025) (Gorsuch, J., dissenting) (“[A]nalyzing ‘how
  particular combinations of words are used in a vast database of
  English prose’ can shed light on how ordinary people understand
  statutory terms.”) (quoting Facebook, Inc. v. Duguid, 592 U.S.
  395, 412 (2021) (Alito, J., dissenting)).
  Moreover, to read “action” in its legal sense would make
  redundant another term in Section 1252(b)(9) --- “proceeding.”
  “Proceeding” covers a part of the legal process. See
  Proceeding, Black’s Law Dictionary (6th ed. 1990) (“[T]he form
  and manner of conducting juridical business before a court or
  judicial officer.”); Proceeding, vbl. n., sense 3, Oxford
  English Dictionary (2d ed. 1989) (“The instituting or carrying
  on of an action at law[.]”); see also Waetzig v. Halliburton
  Energy Servs., Inc., 145 S. Ct. 690, 698–99 (2025) (surveying
  definitions of “proceeding”).
  As the Supreme Court confirmed this Term: “‘proceeding’
  encompasses all steps in an action.” Waetzig, 145 S. Ct. at
  699.
  If “proceeding” sweeps in the full arc of “an action,” as the
  Supreme Court’s recent opinion suggests, then “action” --- if it
  is understood in its legal sense --- would be fully encompassed
  within “proceeding.”
  The two words would cover the same thing. They would become
  redundant. One or the other would be reduced to surplus, an
  unnecessary bit of add-on. And reading statutes to create
  redundancies and surplus --- that is not how things are supposed
  to go. See Bufkin v. Collins, 145 S. Ct. 728, 741 (2025);
  Waetzig, 145 S. Ct. at 699; Marbury v. Madison, 5 U.S. (1
  Cranch) 137, 174 (1803).
  And note a final point.
  On the few occasions it has discussed Section 1252(b)(9), the
  Supreme Court has used “action” in its general sense --- not in
  any legal sense. See, e.g., Jennings v. Rodriguez, 583 U.S.

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  281, 293 (2018) (suggesting that placing someone in detention is
  an “action”); Reno v. Am.-Arab Anti-Discrimination Comm., 525
  U.S. 471, 483 (1999) (“AADC”) (similar).
  In a nutshell: the possible counterargument sketched out here
  does not work. As used in Section 1252(b)(9), “action” means
  what it usually does. It does not mean a lawsuit. 19

                   b)   “To Remove”

  The first of the four Section 1252(b)(9) boxes is checked. See
  Part IV.A.3(a). The Secretary of State’s determination was an
  “action taken.”
  The next question: was the “action taken to remove an alien from
  the United States”? 8 U.S.C. § 1252(b)(9) (emphasis added).
  It was.
  The key word in the quoted phrase is “to.”
  As used with the verb “remove,” “to” signals “purpose or
  intention.” To, sense B.I, Oxford English Dictionary (2d ed.
  1989).
  And the cases confirm what the dictionaries say. See, e.g.,
  Loughrin v. United States, 573 U.S. 351, 354-55 (2014)


  19 To be sure, courts sometimes analyze a word with reference to
  its neighbor. See Jones v. United States, 527 U.S. 373, 389
  (1999) (“Statutory language must be read in context and a phrase
  gathers meaning from the words around it.”) (cleaned up); see
  also Jarecki v. G.D. Searle & Co., 367 U.S. 303, 307 (1961); Amy
  Coney Barrett, Congressional Insiders and Outsiders, 84 U. Chi.
  L. Rev. 2193, 2197 n.11 (2017). And so it might be argued here
  that “proceeding” (which undoubtedly has a legal meaning) should
  be taken to overspill itself, and to color the meaning of the
  neighboring “action” --- leaving “action” with some legalistic
  hues (a civil action, a lawsuit). But that does not work. If
  “action” and “proceeding” are each assigned a legal-shaded
  meaning, the words become redundant. Courts often look to
  contextual clues to avoid superfluous readings. See, e.g.,
  United States v. Kaluza, 780 F.3d 647, 659 (5th Cir. 2015). But
  they have rejected contextual arguments that create redundancy.
  See, e.g., Waetzig, 145 S. Ct. at 699; Arcadia v. Ohio Power
  Co., 498 U.S. 73, 78 (1990).

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  (concluding that “to obtain” in 18 U.S.C. § 1344 signals
  “inten[t]”); Allison Engine Co. v. U.S. ex rel. Sanders, 553
  U.S. 662, 668 (2008) (concluding that “to get” in the relevant
  statute “denotes purpose”).
                                *     *     *
  Given the above, the question is this: was the Secretary of
  State’s determination (an “action”) done (“taken”) with the
  purpose or intention (“to”) of removing an alien from the United
  States”?
  Yes, clearly.
  When a Secretary of State says he has “reasonable ground[s] to
  believe” that a person’s “presence or activities in the United
  States . . . would have potentially serious adverse foreign
  policy consequences for the United States” 20 --- that statement
  has only one known function in our law.
  And that function is to seek the person’s removal from the
  United States. See 8 U.S.C. § 1227(a)(4)(C)(i) (“[a]n alien”
  who meets the criteria quoted just above “is deportable.”).
  The memo that formalizes the Secretary’s determination confirms
  this.
  Its “subject” line says that it concerns “[r]emovability
  [d]eterminations” under the immigration laws. See Determination
  at 1.
  The first paragraph of the memo explains that the Secretary has
  deemed the Petitioner to be a “deportable alien[]” under the
  removal statute. See id. The second paragraph lays out the
  Secretary’s understanding of the relevant statute. See id. And
  the last paragraph asserts that the Petitioner’s “presence” in
  the United State would harm American foreign policy. See id. at
  1–2.
  In short: under Section 1252(b)(9), “to remove an alien from the
  United States” means to act with the intent or purpose to remove
  someone. And that was the purpose of the Secretary’s
  determination.



  20 That is in essence what the Secretary’s determination says
  here. See Determination at 1–2.

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                   c)   “Under This Subchapter”

  Next: Section 1252(b)(9) applies when the claim in question
  “aris[es] from any action taken . . . under this subchapter.”
  The subchapter in question is Subchapter II of Chapter 12 of
  Title 8 --- the part of the Immigration and Nationality Act that
  spans Section 1151 to Section 1382.
  And the Secretary made his determination under 8 U.S.C.
  § 1227(a)(4)(C), which is part of Subchapter II.
  So the Petitioner’s claim, which challenges the Secretary’s
  determination, “aris[es] from an[] action taken . . . under this
  subchapter.”

                   d)   “Arising From”

  To this point, the Court has concluded that the Secretary’s
  determination was (a) an action taken (b) to remove an alien
  from the United States (c) under the relevant subchapter.
  That leaves a fourth and final question.
  Judicial review is sought here to enjoin the Petitioner’s
  detention as a violation of the First Amendment. See Petition
  ¶¶ 89-90.
  Does assessment of that “question[]. . . aris[e] from an[]
  action taken [the Secretary’s determination] to remove an alien
  [the Petitioner] from the United States”?
  Yes.
  The Supreme Court has recently debated what “arising from” means
  in Section 1252(b)(9). See Jennings, 583 U.S. 281. How tight
  must the nexus be between A and B to say that B arises from A?
  Whatever the answer to that question might be in the abstract,
  there can be no doubt that review of the legality of the
  Petitioner’s detention “aris[es] from” the Secretary’s
  determination.
  The two are tightly yoked together. The Secretary of State’s
  determination is not tangential to the detention of the
  Petitioner or his removal under Section 1227(a)(4)(C)(i). Quite
  the opposite. The determination is what allows removal to go
  forward in the first place --- indeed, it has only that purpose
  under the law, and it is the only piece of evidence put forward

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  before the immigration courts in support of a Section
  1227(a)(4)(C)(i) removal.
                                *     *     *
  To sum up:
  Built into Section 1252(b)(9) is a four-part test for deciding
  whether judicial review is or is not covered.
  Here, that test is satisfied, for the reasons set out above. 21

  21 And also: this conclusion gets support from two statements
  about Section 1252(b)(9) in AADC. There, the Supreme Court said
  that Section 1252(b)(9) “channels judicial review of all”
  relevant “decisions and actions, 525 U.S. at 483 (emphasis in
  original), to the immigration courts and the court of appeals.
  And Section 1252(b)(9) is a “zipper” clause, that “says ‘no
  judicial review in deportation cases unless this section
  provides judicial review.’” Id. at 482. These statements
  strengthen the conclusion that the Secretary’s determination is
  covered by Section 1252(b)(9). But they should not be treated
  as definitively fixing the meaning of Section 1252(b)(9).
  First, subsequent cases have limited these statements. Justice
  Alito’s Jennings plurality opinion, for example, construed
  Section 1252(b)(9) as allowing for judicial review of prolonged
  immigration detention in a federal district court, see 583 U.S.
  at 294–95 --- and that would seem to be at odds with the quotes
  from AADC. Second, the AADC statements about Section 1252(b)(9)
  were dicta; the holding in AADC was about the meaning of a
  different immigration-related provision, 8 U.S.C. § 1252(g).
  See 525 U.S. at 473. And third, when the AADC Court said that
  Section 1252(b)(9) covers “all” actions and decisions, see id.
  at 483, it was rejecting an argument that Section 1252(g) covers
  all actions from the beginning (“commence[ment]”) to the end
  (“execut[ion]” of removal orders). See AADC, 525 U.S. at 482-
  83. Section 1252(g) could not mean that, the Court reasoned,
  because Section 1252(b)(9) already does. See id. at 483. But
  even if 1252(b)(9) covers all actions between commencement and
  execution, it might arguably have nothing to say about the
  Secretary of State’s determination --- because that is a pre-
  commencement step. All of this said, though, the AADC
  statements tip the scales, at least to an extent, toward the
  conclusion that the Secretary’s determination is covered by
  Section 1252(b)(9). After all, Supreme Court dicta carry
  special weight. See, e.g., Singh v. Uber Techs. Inc., 939 F.3d
  210, 223 (3d Cir. 2019). And the AADC Section 1252(b)(9)


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  What this means: assuming that Section 1252(b)(9) applies here
  in the first place, this Court has no jurisdiction to consider
  the Petitioner’s claim as to the Secretary’s determination.
  Is this assumption right?     Take that up now.

        B.   The Text

  The words of Section 1252(b)(9) seem to cover the Petitioner’s
  challenge to the Secretary’s determination. See Part IV.A.
  But the analysis that supports this conclusion, see id., is
  zoomed in to a fault. Pan out to see the rest of the statute,
  and what becomes clear is this: Section 1252(b)(9) does not
  apply here as a categorical matter. It does not reach cases
  like this one, in which a final order of removal has not been
  entered.
                                *     *     *
  Section 1252(b)(9) is part of Section 1252(b), and Section
  1252(b) starts with a lead-in.
             With respect to review of an order of
             removal . . . , the following requirements
             apply:
  From there, Section 1252(b) runs through a set of numbered
  “requirements,” 1252(b)(1), (b)(2), and so on --- out to (b)(9).
  With that structure in mind, look to some relevant parts of
  Section 1252(b):
             (b) Requirements for review of orders of
             removal
             With respect to review of an order of
             removal . . . , the following requirements
             apply:


  statements are not pure dicta; they take some steps down the
  road in the “holding” direction. This is because the AADC
  Court’s broad reading of Section 1252(b)(9) may have been a
  necessary element of the Court’s actual holding, as to the scope
  of Section 1252(g). See 525 U.S. at 483. And logically
  necessary and explicitly invoked steps along the way to a
  holding can be binding. See, e.g., Seminole Tribe of Fla. v.
  Florida, 517 U.S. 44, 67 (1996).
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                (1) Deadline
                The petition for review must be filed not
                later than 30 days after the date of the
                final order of removal.
                (2) Venue and forms
                The petition for review shall be filed
                with the court of appeals for the judicial
                circuit in which the immigration judge
                completed the proceedings . . . .
                (3) Service
                   (A) In general
                   . . . The petition shall be served on
                   the Attorney General and on the officer
                   or employee of the [federal immigration
                   agency] in charge of the . . . district
                   in which the final order of removal
                   . . . was entered. . . .
                (4) Scope and standard for review
                Except as provided in paragraph (5)(B)--
                (A) the court of appeals shall decide the
                    petition only on the administrative
                    record on which the order of removal is
                    based, . . . .
                [ . . . ]
                (9) Consolidation of questions for
                judicial review
                Judicial review of all questions of law
                and fact, including interpretation and
                application of constitutional and
                statutory provisions, arising from any
                action taken or proceeding brought to
                remove an alien from the United States
                under this subchapter shall be available
                only in judicial review of a final order
                under this section. Except as otherwise
                provided in this section, no court shall
                have jurisdiction, by habeas

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                corpus . . . , or by any other provision
                of law (statutory or nonstatutory), to
                review such an order or such questions of
                law or fact.
  Looking to the full statute is required, and always has been. 22
  Doing so here makes clear that Section 1252(b)(9) has no bearing
  on this case.
  Section 1252(b)(9) speaks to cases in which judicial review goes
  forward after the immigration courts enter a final order of
  removal.
  But Section 1252(b)(9) does not purport to say anything about
  what happens when --- as here --- judicial review takes place
  before an order of removal is entered.
                                *     *     *
  The point is clear from the get-go.
  The title of Section 1252(b) says that the Section, which
  includes Section 1252(b)(9), is about “Requirements for review
  of orders of removal.”
  These words assume that an order of removal has already been
  entered. After all, “review” means to “look at a thing again.”
  Review, v., sense 1, Merriam-Webster, https://www.merriam-
  webster.com/dictionary/review (accessed Apr. 17, 2025); accord,
  e.g., Review, v., sense 2, Oxford English Dictionary (2d ed.
  1989) (“view, inspect, or examine a second time or again”).


  22 See The Mary Ann, 21 U.S. 380, 387 (1823) (“[T]hose rules for
  construing statutes, which are dictated by good sense, and
  sanctioned by immemorial usage, . . . require that the intent of
  the Legislature shall have effect, which intent is to be
  collected from the context[.]”); United States v. Fisher, 6 U.S.
  (2 Cranch) 358, 386 (1805) (“It is undoubtedly a well
  established principle in the exposition of statutes, that every
  part is to be considered, and the intention of the legislature
  to be extracted from the whole.”); accord Gundy v. United
  States, 588 U.S. 128, 141 (2019); Nat’l Broad. Co. v. United
  States, 319 U.S. 190, 214-16 (1943); Durousseau v. United
  States, 10 U.S. (6 Cranch) 307, 314 (1810); Oneale v. Thornton,
  10 U.S. (6 Cranch) 53, 68 (1810); see also 1 William Blackstone,
  Commentaries *59.


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  And there can be no looking “again” at a thing (here, an order
  of removal) that does not already exist. If a movie is not out
  until next year, a newspaper might run a preview. But the
  review comes after the fact --- after the filming and editing
  are wrapped up and someone can sit and watch the final product.
  Bottom line: Section 1252(b)’s heading (“Requirements for review
  of orders of removal”) shows that Section 1252(b)(9) kicks in
  after a final order has been entered, not before. 23
                                *     *     *
  Other parts of Section 1252(b) point in the same direction.
  Start from the top, with the Section 1252(b) lead-in.
  It says that “[w]ith respect to review of an order of
  removal . . . , the following requirements apply.” 8 U.S.C.
  § 1252(b) (emphasis added). And as noted, one of those
  “requirements” listed under that Section is 1252(b)(9).
  The clear implication: Section 1252(b)(9) is about “review of
  an order of a removal,” not about a situation in which review
  might take place before such an order exists.
  Move now to the first substantive part of Section 1252(b),
  Section 1252(b)(1).
  Section 1252(b)(1) lays down a deadline for when a person must
  act if he or she wants to seek out the judicial review that is
  the subject of Section 1252(b): “The petition for review [in the

  23 And note: in the context of Section 1252(b), courts routinely
  reason from the language Congress used in the various statutory
  headings. See EOHC v. Sec’y U.S. Dep’t of Homeland Sec., 950
  F.3d 177, 186 (3d Cir. 2020) (“That is also why the provision is
  captioned ‘Consolidation of Questions for Judicial Review.’”)
  (cleaned up); see also Gonzalez v. U.S. Immigr. & Customs Enf’t,
  975 F.3d 788, 810 (9th Cir. 2020); Aguilar v. U.S. Immigr. &
  Customs Enf’t Div. of Dep’t of Homeland Sec., 510 F.3d 1, 9 (1st
  Cir. 2007); Singh v. Gonzales, 499 F.3d 969, 977 (9th Cir.
  2007); Saint Fort v. Ashcroft, 329 F.3d 191, 198 (1st Cir.
  2003); Mahadeo v. Reno, 226 F.3d 3, 12 (1st Cir. 2000); Flores-
  Miramontes v. INS, 212 F.3d 1133, 1139 (9th Cir. 2000); Cath.
  Soc. Servs., Inc. v. INS, 182 F.3d 1053, 1060 (9th Cir. 1999),
  on reh’g en banc, 232 F.3d 1139 (9th Cir. 2000); cf. Cunningham
  v. Cornell Univ., 2025 WL 1128943, at *6 (U.S. Apr. 17, 2025)
  (in a different context, looking to statutory headings to
  resolve possible doubt about statutory construction).
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  court of appeals] must be filed not later than 30 days after the
  date of the final order of removal.”
  This timeline assumes that a final order of removal has been
  entered. It happened. It was done on a certain “date,” and the
  30-day countdown goes from there.
  And note: Section 1252(b) provides no deadline for a court
  challenge that might be brought before the entry of a final
  order of removal. Why not? Because Section 1252(b) does not
  cover those sorts of challenges.
  Walk through the statute and see more of the same.
  Under Section 1252(b), the court challenge is to go forward in
  “the judicial circuit in which the immigration judge completed
  the proceedings.” Id. § 1252(b). That makes sense if Section
  1252(b) covers situations in which an order of removal has been
  entered. But not if it also speaks to the period before an
  order has been entered. At that point, the “proceedings” before
  the immigration judge are not “completed.” They are underway.
  And along the same lines:
  Why would Congress require service where “the final order of
  removal . . . was entered,” id. § 1252(b)(3), if it meant for
  Section 1252(b) to cover situations in which there was not yet a
  final order of review that had been “entered”?
  Why would Congress limit review “only” to “the administrative
  record on which the order of removal is based,” 8 U.S.C.
  § 1252(b)(4)(A), if the review takes place before an order of
  removal, “based” on the record, has been entered?
  In sum, a broader look shows that Section 1252(b)(9) comes
  online after an order of removal has been entered by the
  immigration courts.
  Therefore, Section 1252(b)(9) does not purport to say anything
  about what might happen in cases like this one, cases that are
  brought before a final order of removal is entered.
  The upshot: Section 1252(b)(9) has no role to play here, and so
  it cannot strip this Court of jurisdiction.
                                *     *     *
  A final note.


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  On the understanding sketched out just above, Section 1252(b)(9)
  has an important role to play.
  It tells federal district courts that, after an order of removal
  is finalized, they are not part of the mix. The immigration
  courts will do the front-line work. And the work of Article III
  judicial review belongs to the court of appeals, and fully. An
  issue here or there --- those cannot be plucked out by a
  district court for its own review.
  By conveying this message, Section 1252(b)(9) “streamlines”
  review, as courts have observed that it aims to. See Nken v.
  Holder, 556 U.S. 418, 424 (2009); F.J.A.P. v. Garland, 94 F.4th
  620, 628 (7th Cir. 2024); Patel v. U.S. Att’y Gen., 971 F.3d
  1258, 1269 (11th Cir. 2020), aff’d sub nom. Patel v. Garland,
  596 U.S. 328 (2022); Cooper Butt ex rel Q.T.R. v. Barr, 954 F.3d
  901, 906 (6th Cir. 2020).
  And it also cuts off “piecemeal” litigation, another of its core
  purposes. See Gicharu v. Carr, 983 F.3d 13, 18 (1st Cir. 2020);
  Jama v. Dep’t of Homeland Sec., 760 F.3d 490, 496 (6th Cir.
  2014); Chehazeh v. Att’y Gen. of U.S., 666 F.3d 118, 131 (3d
  Cir. 2012); Aguilar v. U.S. Immigr. & Customs Enf’t, 510 F.3d 1,
  9 (1st Cir. 2007).
  But Section 1252(b)(9) does those things only where it applies -
  -- and that is after orders of removal have been entered, not,
  as here, before. 24


  24 But it might be argued: this cannot be all. Even without
  Section 1252(b)(9), few district judges would have imagined that
  they could review an issue that is brought to them while a court
  of appeals is already handling the overall case. But this
  ignores the state of the law before Section 1252(b)(9) was
  passed in 1996. See, e.g., Delligatti, 145 S. Ct. at 806–07
  (looking to a “[legal] principle [that] was well established”
  when a statute was enacted to inform interpretation of the
  statute). In 1983, the Supreme Court held that “final orders”
  of removal “include[] all matters on which the validity of the
  final order is contingent, rather than only those determinations
  actually made at the hearing.” INS v. Chadha, 462 U.S. 919, 938
  (1983) (cleaned up). This leaves behind a good many issues. It
  might have been taken to imply that the court of appeals, when
  it reviews a final order of removal, takes up only a subset of


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                                *     *     *
  Here, the Petitioner does not seek judicial review of an order
  of removal. None has been finalized. And therefore, Section
  1252(b)(9) does not prevent this Court from considering the
  Petitioner’s claim that the Secretary’s determination must be
  set aside as unconstitutional.
  “Jurisdictional rules . . . should be ‘clear and easy to
  apply.’” Axon Enter., Inc. v. FTC, 598 U.S. 175, 212 (2023)
  (Gorsuch, J., concurring) (quoting Hamer v. Neighborhood Housing
  Servs. of Chi., 583 U.S. 17, 25 (2017)). This one is.

        C.   Chehazeh

  Do cases support the reading of Section 1252(b)(9) laid out just
  above?
  At the Supreme Court, there is no binding authority. A majority
  of Justices has not directly passed on the question one way or
  another. 25



  questions (“all matters on which the validity of the final order
  is contingent”) --- with room left for a district court to look
  into other issues related to a case that is brought before it.
  See Nasrallah v. Barr, 590 U.S. 573, 582 (2020) (making a
  closely similar point in another immigration-law context).
  Section 1252(b)(9), where it applies, shuts the door on that
  sort of thinking --- because it says that review in the court of
  appeals occupies virtually the whole playing field of possible
  issues, well beyond those that the order of removal was
  “contingent” on. Court of appeals review covers “[j]udicial
  review of all questions of law and fact, including
  interpretation and application of constitutional and statutory
  provisions, arising from any action taken or proceeding brought
  to remove an alien.” 8 U.S.C. § 1252(b)(9).
  25 In short passages here and there, various Justices have
  weighed in. A dissent from Justice Breyer, joined by Justices
  Ginsburg and Sotomayor, suggests that Section 1252(b)(9) applies
  only to review of orders of removal that have already been
  entered. “Jurisdiction . . . is unaffected by 8 U.S.C.
  § 1252(b)(9), which by its terms applies only ‘with respect to
  review of an order of removal under § 1252(a)(1).’ The


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  But the Supreme Court addressed Section 1252(b)(9) in passing in
  an earlier case.
  And based on that Supreme Court case, and based on an earlier
  decision of its own, the Third Circuit has held that Section
  1252(b)(9) applies only after a final order of removal has been
  entered --- and such an order, as noted, has not been entered
  here as to the Petitioner.
  The Third Circuit’s analysis and holding as to Section
  1252(b)(9) is quoted here in full:
             [T]he Supreme Court has noted that
             § 1252(b)(9) is subject to the limitations
             of § 1252(b), and, therefore, “applies only
             ‘with respect to review of an order of
             removal under subsection (a)(1).’” INS v.
             St. Cyr, 533 U.S. 289, 313, (2001) (quoting
             8 U.S.C. § 1252(b)). Section 1252(b)(9),
             “by its own terms,” does not bar review of
             an order “not subject to judicial review
             under § 1252(a)(1),” St. Cyr, 533 U.S. at
             313, and § 1252(a)(1) describes only “review
             of a final order of removal.” See 8 U.S.C.
             § 1252(a)(1) (“Judicial review of a final
             order of removal . . . is governed only by
             chapter 158 of title 28, except as provided
             in sub[s]ection (b) of this
             section . . . .”). Section 1252(b)(9),
             therefore, requires only that, when there is

  respondents challenge their detention without bail, not an order
  of removal.” Jennings, 583 U.S. at 355 (Breyer, J., dissenting)
  (cleaned up). On the other hand, a dissent from Justice Thomas,
  joined by Justice Alito, seems to suggest the opposite view,
  that Section 1252(b)(9) limits district-court review even before
  an order of removal has been entered. “[Section] 1252(b)(9)
  covers all ‘questions of law and fact’ that an immigration judge
  must decide as a result of the Government’s decision to initiate
  removal proceedings against an alien.” Nasrallah, 590 U.S. at
  590 (Thomas, J., dissenting).   And note that a concurrence from
  Justice Thomas, joined by Justice Gorsuch, necessarily rests on
  the idea that Section 1252(b)(9) applies even before orders of
  removal are entered. See Jennings, 583 U.S. at 319–21 (Thomas,
  J., concurring). For more on Jennings, see Part IV.A.3(d).

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             an order of removal under subsection (a)(1),
             review of any issues related to that order
             must be consolidated into a single petition
             for review and cannot be brought piecemeal.
             One may not, for instance, follow a petition
             for review with a habeas petition or a
             petition for a writ of mandamus.
             Although St. Cyr issued prior to the REAL ID
             Act, the REAL ID Act did not modify
             § 1252(b) or the instruction that
             § 1252(b)(9) “applies only ‘with respect to
             review of an order of removal under
             subsection (a)(1).’” St. Cyr, 533 U.S. at
             313 (quoting 8 U.S.C. § 1252(b)). Since
             that time, both the Ninth and Eleventh
             Circuits have held that, when a person is
             not seeking review of “an order of removal
             under subsection (a)(1),” the limitations of
             § 1252(b)(9) do not apply. See Singh v.
             Gonzales, 499 F.3d 969, 978 (9th Cir. 2007)
             (“By virtue of its explicit language . . .
             1252(b)(9) applies only to those claims
             seeking judicial review of orders of
             removal.”); Madu v. Att’y Gen., 470 F.3d
             1362, 1367 (11th Cir. 2006) (explaining that
             “section 1252(b)(9) applies only with
             respect to review of an order of removal”
             and that the REAL ID Act “did not expand the
             scope of § 1252(b)(9) by making it
             applicable to cases other than those
             involving ‘review of an order of removal’”
             (internal quotation marks omitted)); cf.
             House Conference Report on the REAL ID Act,
             H.R. Rep. No. 109–72, at 175, 2005
             U.S.C.C.A.N. 240, 300 (“Section 106 would
             not preclude habeas review over challenges
             to detention that are independent of
             challenges to removal orders. Instead, the
             bill would eliminate habeas review only over
             challenges to removal orders.”).
             While we have not written precedentially on
             the scope of § 1252(b)(9) after the REAL ID
             Act, we have addressed the effect of nearly

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             identical language in § 1252(a)(5). In
             Kumarasamy v. Attorney General, we
             considered whether a habeas petition that
             was before us on appeal when the REAL ID Act
             came into effect should be converted into a
             petition for review pursuant to 8 U.S.C.
             § 1252(a)(5). 453 F.3d 169, 172 (3d Cir.
             2006). That subsection states that a
             “petition for review filed with an
             appropriate court of appeals . . . shall be
             the sole and exclusive means for judicial
             review of an order of removal.” 8 U.S.C.
             § 1252(a)(5). The petitioner in Kumarasamy
             had not been seeking review of an order of
             removal but was seeking habeas relief,
             claiming that his deportation was illegal
             “because there was no order of removal.”
             453 F.3d at 172 (emphasis in original). We
             held that § 1252(a)(5) did not apply,
             because that provision pertained only to
             “judicial review of an order of removal.”
             Id. (emphasis in original). Our holding in
             Kumarasamy supports the conclusion that,
             because § 1252(b) refers only to “review of
             an order of removal under subsection
             (a)(1),” it, and its subsections, are
             inapplicable when there is no such order.
             Not all courts agree with the conclusion
             reached by the Ninth and Eleventh Circuits
             and suggested by us in Kumarasamy. The
             First Circuit held in Aguilar v. United
             States Immigration & Customs Enforcement
             that “the reach of section 1252(b)(9) is not
             limited to challenges to singular orders of
             removal.” 510 F.3d 1, 9 (1st Cir. 2007).
             The reasoning of Aguilar, however, appears
             to conflict with the Supreme Court’s
             explicit instruction in St. Cyr, 533 U.S. at
             313 (“Section 1252(b)(9) applies only ‘with
             respect to review of an order of removal
             under subsection (a)(1).’”), and with the
             language of § 1252(b) (“With respect to
             review of an order of removal under

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             subsection (a)(1) of this section, the
             following requirements apply . . . .”). We
             therefore join with the Ninth and Eleventh
             Circuits and hold that § 1252(b)(9) applies
             only “with respect to review of an order of
             removal under subsection (a)(1).” 8 U.S.C.
             § 1252(b). Because Chehazeh is not seeking
             review of any order of removal --- as there
             has been no such order with respect to him -
             -- § 1252(b)(9) does not preclude judicial
             review.
  Chehazeh, 666 F.3d at 131–33 (cleaned up).
  This is all but dispositive.
  There is no order of removal in this case. And so Section
  1252(b)(9) does not apply under Chehazeh. “Because [the
  Petitioner] is not seeking review of any order of removal --- as
  there has been no such order with respect to him ---
  § 1252(b)(9) does not preclude judicial review.” Id.
                                *     *     *
  Might Chehazeh be distinguished from this case on factual
  grounds?
  Chehazeh, after all, was an “unusual” case, id. at 121, focused
  on the Board of Immigration Appeals’ decision to sua sponte
  reopen a decision. See id.
  Perhaps, it might be argued, Chehazeh does not apply to the more
  typical case, where a person in a removal proceeding seeks
  federal district court review before the immigration court
  proceedings have run their course.
  But that sort of distinction seems to have been considered and
  rejected by the Third Circuit in EOHC v. Secretary United States
  Department of Homeland Security, 950 F.3d 177 (3d Cir. 2020).
  There, people in removal proceedings went to the district court.
  See id. at 180. Up against Chehazeh, the federal-government
  appellees argued that that case should be limited to its facts.
  See Brief for Appellees at 37, EOHC, 950 F.3d 177 (No. 19-2927).
  But the Third Circuit did not seem to accept this position.
  This was the EOHC court’s only mention of Chehazeh:



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             [Section 1252(b)(9)] does not reach “claims
             that are independent of, or wholly
             collateral to, the removal process,” like
             “claims that cannot effectively be handled
             through the available administrative
             process.” Aguilar, 510 F.3d at 11; accord
             J.E.F.M. v. Lynch, 837 F.3d 1026, 1032 (9th
             Cir. 2016) (collecting cases); Reply Br. 16
             (interpreting Chehazeh v. Att’y Gen. of the
             U.S., 666 F.3d 118 (3d Cir. 2012)); Oral
             Arg. Tr. 20–21.
  EOHC, 950 F.3d at 186.
  Now look to the page of the Reply Brief that was cited as
  “interpreting” Chehazeh. It reads, in part: “the government’s
  argument that this Court should ‘limit Chehazeh to its facts’
  . . . is misplaced. Instead, . . . the applicability of section
  1252(b)(9) depends on the nature of the claim being considered.”
  Reply Brief for Appellants at 16, EOHC, 950 F.3d 177 (No. 19-
  2927).
  It appears that the EOHC court, by citing this page of the
  brief, meant to signal that it rejected any cabining of Chehazeh
  to its facts.
                                *     *     *
  Might it be argued that Chehazeh has been implicitly overruled
  by the Supreme Court’s decision in Jennings?
  This seems unlikely.
  The Third Circuit in EOHC referenced Chehazeh, as noted. See
  EOHC, 950 F.3d at 186. And it also discussed Jennings at
  length. See id. at 185–86. If Jennings overruled Chehazeh,
  would EOHC not have said so?
  And more directly: there is no reason to think Jennings pushed
  aside Chehazeh.
  To see why, look first to the facts of Jennings.
  Noncitizens in immigration custody had been detained for more
  than six months without bond hearings, and they argued this was
  illegal under various statutes. See id. at 290. Those statutes




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  applied to certain noncitizens --- those who had not received a
  final order of removal. See id. at 291, 299, 303. 26
  Jennings, then, was like Chehazeh --- a pre-order-of-final-
  removal case.
  As to jurisdiction, what did the Supreme Court rule in Jennings?
  Did Section 1252(b)(9) strip jurisdiction or not?
  The answer is not straightforward, because the Jennings Court
  fragmented on the jurisdictional question. See id. at 284.
  Eight justices took part and there were three opinions; none
  commanded a majority. See id. at 284, 292.
  How to decide what to take away from this? When “a fragmented
  Court decides a case and no single rationale explaining the
  result enjoys the assent of five Justices, the holding of the
  Court may be viewed as that position taken by those Members who
  concurred in the judgments on the narrowest grounds.” Marks v.
  United States, 430 U.S. 188, 193 (1977) (cleaned up); see
  generally Richard M. Re, Beyond the Marks Rule, 132 Harv. L.
  Rev. 1942 (2019).
  But this “Marks rule” is not clarifying here. 27


  26 In the district court, one of the noncitizens sought
  certification of a subclass under 8 U.S.C. § 1231(a), which
  governs the “[d]etention . . . of aliens ordered removed.” See
  Jennings, 583 U.S. at 291. But the court of appeals held that
  this subclass could not be certified, see id., and the Supreme
  Court did not revisit that decision. See id. at 291–92. So the
  case before the Court concerned only detention of people who had
  not been ordered finally removed.
  27 As a general matter, the Marks rule can apply to
  jurisdictional holdings. See, e.g., United States v. Donovan,
  661 F.3d 174 (3d Cir. 2011); United States v. Johnson, 467 F.3d
  56 (1st Cir. 2006); United States v. Gerke Excavating, Inc., 464
  F.3d 723 (7th Cir. 2006). It just does not shed light here, as
  will be seen in a moment. (Note that the Marks rule may be
  especially hard to apply to a jurisdiction-stripping statute,
  because it is not obvious what the right baseline is. Are the
  “narrower grounds” those that narrow the reach of the statute
  (and therefore expand federal court jurisdiction)? Or are the
  “narrower grounds” those that expand the reach of the statute
  (and therefore narrow federal court jurisdiction)? Cf. Johnson,
  467 F.3d at 63–64.)
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  Chehazeh held that, as a categorical matter, Section 1252(b)(9)
  does not apply before entry of an order of removal. See 666
  F.3d at 133.
  But on that question, there is no Jennings majority to cobble
  together using Marks.
  As noted, eight Justices took part in Jennings.            See 583 U.S. at
  284.
  Two Justices, with Justice Thomas writing, held that Section
  1252(b)(9) can apply before a final order of removal exists.
  See id. at 317–18 (Thomas, J., concurring).
  Three Justices, with Justice Breyer writing, suggested that it
  cannot apply before a final order of removal exists. See id. at
  355 (Breyer, J., dissenting).
  And three Justices, with Justice Alito writing, took no explicit
  stance on the question.
  Rather, Justice Alito’s opinion held that Section 1252(b)(9) did
  not control the particular case before the Court --- because
  detention without a bail hearing did not “aris[e] from” actions
  to remove the noncitizens, as Section 1252(b)(9) requires. See
  id. at 292–95.
  But nothing can be read into Justice Alito’s opinion as to
  whether Section 1252(b)(9) might otherwise apply before an order
  of removal; therefore, no holding of his can join that of
  another opinion, via the Marks rule, to make a majority.
  This is for two reasons.
  First, “[q]uestions which merely lurk in the record, neither
  brought to the attention of the court nor ruled upon, are not to
  be considered as having been so decided as to constitute
  precedents.” Cooper Indus., Inc. v. Aviall Servs., Inc., 543
  U.S. 157, 170 (2004); see also, e.g., United States v. More, 7
  U.S. (3 Cranch) 159, 172 (1805) (Chief Justice Marshall making
  this point at oral argument as to jurisdiction).
  Justice Alito took no “position,” Marks, 430 U.S. at 193, on
  whether Section 1252(b)(9) could or could not categorically have
  applied if the statute’s “arising from” language had fit the
  case before the Court.
  So why impute a position to him?


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  And all the more so because Justice Alito’s opinion noted that
  the parties had not briefed “the scope” of Section 1252(b)(9),
  see Jennings, 583 U.S. at 294, and so, as Justice Alito put it,
  his opinion declined “to provide a comprehensive interpretation”
  of Section 1252(b)(9), ruling only that the statute did not
  apply given the facts at hand. See id. at 294.
  To see the second point, start by noting that when an explicit
  ruling (call it “CD”) necessarily rests on an implicit logical
  proposition (call it “AB”) --- then both CD and AB can count as
  rulings. See footnote 21 (discussing this).
  If Justice Alito’s explicit ruling (CD) was that jurisdiction
  was stripped in Jennings because of Section 1252(b)(9)’s
  language, then that would logically rest on the implicit idea
  (AB) that Section 1252(b)(9) applied in the first place.
  But that is not where Justice Alito’s opinion came down.
  It held that, because of Section 1252(b)(9)’s language,
  jurisdiction was not stripped --- and that ruling does not rest
  on a logically necessary sense that Section 1252(b)(9) applied.
  After all, Justice Alito could have reached the same result (no
  jurisdiction strip) regardless of his answer to the question of
  whether Section 1252(b)(9) does or does not categorically apply
  to pre-order-of-removal cases. 28


  28 The second point in the text is abstract. Unpack it a bit
  more here. The complexity is this: AB may typically get
  analyzed before conclusion CD is reached; but whether AB is
  necessary to conclusion CD --- that depends. To see why,
  imagine this statute: “if a person is an employee, she cannot be
  discriminated against --- and if she is discriminated against,
  the employer is liable and must pay.” Under the statute,
  whether a person is an employee will usually be analyzed before
  deciding whether she has been discriminated against. But is a
  holding as to whether she is an employee logically implicit in a
  holding as to whether the employer must pay? Sometimes yes,
  sometimes no. If the court holds she was discriminated against
  and that the employer must pay, then that must logically rest on
  a particular resolution of the prior question, as to whether the
  person was an employee. After all, if she was not an employee,
  how could the employer have broken the statute and now be
  expected to pay? But if the court holds she was not
  discriminated against, and the employer need not pay, that does


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  In sum: even after deploying the Marks rule, it cannot be said
  that a Jennings majority spoke to the Chehazeh question --- let
  alone implicitly overruled the Third Circuit’s Chehazeh opinion.

  V.    If Section 1252(b)(9) Applies Here

  Where things stand:
  The Respondents argue that Section 1252(b)(9) pulls away
  jurisdiction, such that this Court cannot consider the
  Petitioner’s motion to enjoin the Secretary’s determination.
  That argument looks solid at first. See Part IV.A. But look to
  all of Section 1252(b), and the argument melts away.
  Section 1252(b)(9) is in play only when an order of removal has
  been entered. That is what the statute says. See Part IV.B.
  And that is what the Third Circuit has held. See Part IV.C.
  Therefore, Section 1252(b)(9) does not apply here --- there is
  no order of removal.
  But there is an important difficulty.
  To see it, compare (a) Chehazeh and (b) EOHC, two Third Circuit
  cases that have been mentioned at various points above.
                                *     *     *


  not logically need to have been based on any particular decision
  on the question of whether the person was an employee. Why not?
  Because the ruling (no pay) would come out the same way
  regardless of how the employee question was answered. Another
  way to see this is to think about arguments made arguendo.
  Justice Alito in Jennings could have said “assuming arguendo
  that Section 1252(b)(9) can generally apply to pre-order-of-
  removal cases, the statute’s language does not apply to this
  case --- and so there is no jurisdiction strip here.” But for
  his part, Justice Thomas in Jennings could not have said
  “assuming arguendo that Section 1252(b)(9) can generally apply
  to pre-order-of-removal cases, its language applies to this case
  --- and so there is a jurisdiction strip here.” For Justice
  Alito’s bottom-line conclusion, the categorical question of
  whether Section 1252(b)(9) applies is not logically necessary
  and therefore can be assumed away arguendo; for Justice Thomas’
  bottom-line conclusion, the categorical question is logically
  necessary --- and therefore cannot be bracketed for later.
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  Chehazeh holds that Section 1252(b)(9) applies only when an
  order of removal has been entered. The long excerpt above, see
  Part IV.C, shows that.
  Move now to EOHC.
  It, too, was an immigration case. And it held that Section
  1252(b)(9) precluded the district court from hearing a
  particular claim --- even though no order of removal had been
  entered. See EOHC, 950 F.3d at 180.
  Chehazeh and EOHC appear to pull in opposite directions.
  Does Section 1252(b)(9) apply when there is, as here, no order
  of removal?
  Chehazeh seems to say no.     EOHC seems to say yes.
  If Chehazeh controls, then Section 1252(b)(9) is not on the
  table in this case. It is categorically irrelevant.
  Jurisdiction is not affected by it. See Part IV.B and IV.C.
  But if EOHC controls, Section 1252(b)(9) potentially does apply
  here --- and if it does, there is a solid textual case, see
  Part IV.A, that it strips this Court of jurisdiction.
                                *     *     *
  How to proceed?
  The Court closely reviews EOHC, and concludes that it stands for
  this principle: the question of whether Section 1252(b)(9)
  allows a federal district court to hear a claim that has been
  brought to it depends on whether the claim could get “meaningful
  review” if federal court review is delayed out into the future -
  -- as will happen if the federal district court is divested of
  jurisdiction by Section 1252(b)(9), and the case is then sent
  the immigration courts route. See Part V.A. 29
  In other words:
  Under EOHC, Section 1252(b)(9) strips jurisdiction if later
  review in the federal court of appeals, after the immigration
  courts are done, would be meaningful. But Section 1252(b)(9)


  29 Recall: if a claim must first go to the immigration courts,
  federal court review of the claim will happen only later, in a
  federal court of appeals, after the immigration courts have done
  their work.
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  does not strip jurisdiction if post-immigration-courts review
  would not be meaningful.
  On this reading, EOHC essentially applies the Supreme Court’s
  general administrative law jurisprudence in the particular
  context of immigration law --- and that makes sense, given that
  immigration law, in this area, is a part of the administrative
  law family. See Part V.B.
  And on this reading, EOHC is fully consistent with one of the
  Third Circuit’s key relevant precedents --- the opinion authored
  by then-Judge Alito in Massieu v. Reno, 91 F.3d 416 (3d Cir.
  1996). Massieu applied the same body of general administrative
  law jurisprudence that EOHC does. See Part V.C.
                                *     *     *
  The question of how the referenced “meaningful review” issue
  plays out in this case is taken up in Part VI.
  For now, though, start with EOHC, and move on to administrative
  law more generally and then to Massieu.

        A.   EOHC

  This is what the EOHC case was about:
  A father and his minor daughter came to the United States from
  Guatemala. See EOHC, 950 F.3d at 181.
  Federal officials began removal proceedings. See id. The Board
  of Immigration Appeals eventually entered a stay of removal, see
  id., but the father and his daughter became concerned that they
  would be moved to Mexico, see id., to wait things out there
  while American immigration courts assessed whether they should
  be removed back to Guatemala. 30 See id.
  The father and his daughter filed a habeas petition in
  Pennsylvania. See id. They pressed a set of claims, and as to
  each one the Third Circuit asked the same question: can this
  claim go forward in the federal district court? Or do
  jurisdiction-stripping statutes take away that possibility,




  30 This was during the period when the federal government
  applied a protocol to send noncitizens to Mexico while they
  waited for removal proceedings. See EOHC, 950 F.3d at 181.
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  requiring the claim to run down the immigration-court track?
  See id. at 184.
  To answer these questions, EOHC relied on this principle: that
  Section 1252(b)(9) allows claims to be brought in a federal
  district court now if there could not be “meaningful” judicial
  review of those claims later --- after the immigration courts
  have finished their work and a federal court (the court of
  appeals) then gets involved. See id. at 180 (“When a detained
  alien seeks relief that a court of appeals cannot meaningfully
  provide on petition for review of a final order of removal,
  § 1252(b)(9) does not bar consideration by a district court.”);
  see also id. at 186–87 (invoking meaningful review as to
  Section 1252(b)(9); cf. id. at 189-90 (invoking meaningful
  review as to other jurisdiction-stripping provisions).
  In immigration law, involvement by an Article III federal court
  is typically a late-in-the-process thing. See id. at 180.
  Immigration courts handle the case at Time 1, and a federal
  court (a court of appeals) gets involved for the first time only
  at Time 2. See id.
  But, EOHC holds, if waiting until Time 2 would undermine
  “meaningful” federal court review --- then that review can be
  hurried up, and a “detained alien” can first go to a federal
  court, a federal district court, at Time 1, rather than have the
  immigration courts take the initial look, with federal court
  review to take place only afterwards (in a federal court of
  appeals).
  In that circumstance, Article III judicial review --- usually
  pushed out into the future as a job for a federal court of
  appeals --- is pulled back into the present, and is undertaken
  by a federal district court (whose work is later reviewed by a
  federal court of appeals).
                                *     *     *
  How does this principle work in practice?
  The EOHC father and daughter claimed that they would be
  temporarily moved to Mexico, to wait there for the immigration
  courts’ decision in their removal proceedings. See id. at 181.
  Such a claim, EOHC held, can be taken up right away by a federal
  district court, consistent with Section 1252(b)(9). See id. at
  187.


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  Why?
  Because, per EOHC, there can be no “meaningful” consideration
  later of such a claim by a court of appeals, after the
  immigration courts have wrapped up their work. By then, the
  father and daughter could already have been in Mexico for years,
  and those years would have been lost. See id. at 186-87. “Now-
  or-never” claims, id. at 186, as that one was, can go forward
  now in a federal district court because they fit into a broader
  umbrella category --- claims that cannot later be
  “meaningful[ly]” reviewed when they would ordinarily make their
  way to a federal court of appeals.
  And take a second example, to see the flip side of the coin.
  The EOHC father and daughter also claimed that being moved to
  Mexico would fray their relationship with their lawyer, which
  would violate their statutory right to counsel at an eventual
  removal hearing. See id. at 187–88.
  EOHC, citing Section 1252(b)(9), held that this claim could not
  be brought right away in federal district court. 31
  Why not?
  Because the claim could get “meaningful” review later --- as the
  court of appeals looked back on what happened at the removal
  hearing, with an eye on any damage that may have been done to
  the attorney-client relationship. See id. at 188 (“[T]he court
  of appeals can redress any deprivation of counsel in the removal
  proceedings before the alien is removed.”).

         B.   Administrative Law

  In a nutshell, EOHC held that Section 1252(b)(9) does not take
  jurisdiction away from federal district courts when the
  alternative --- going the standard route, to the immigration
  courts and then to a federal court of appeals --- would
  undermine “meaningful” judicial review.
  EOHC indicated that its approach flowed from a broad range of
  sources --- statutory text, a recent Supreme Court decision, and
  a set of presumptions. See id. at 184–86.




  31   This was a pre-order-of-removal claim.
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  And that approach is also closely consistent with broader
  principles of administrative law --- the legal family that, in
  this context, immigration law is part of.

             1.    Structure

  To begin seeing this, start with the classic picture of
  adjudication in the federal system.
  On the ground floor is a federal district court. Then the next
  level up is a federal court of appeals. And finally the Supreme
  Court sits atop the pyramid.
  But the classic picture is not everywhere the current one.
  In administrative law, for example, the federal district court
  is often swapped out, its place taken by an administrative
  court.
  In cases related to the SEC, the FTC, the EPA, the FDA, and the
  FCC, the rungs on the ladder often look like this: an agency
  administrative judge (or an administrative law judge, or some
  other non–Article III official), does the front-line dispute
  resolution. And after that is done, the case plugs back into
  the standard system --- with the administrative judge’s decision
  then reviewed by an Article III court, the federal court of
  appeals. See Federal Appeals Jurisdiction and Practice § 15:1
  (2025 ed.); 2 Charles H. Koch & Richard Murphy, Admin. L. &
  Prac. § 5:10 (3d ed. 2024).
                                *     *     *
  There was a time when immigration detention was commonly
  reviewed using the classic tools of American adjudication.
  A person in custody typically (though not always) started off in
  the federal district court, seeking a habeas corpus writ. See
  Carlson v. Landon, 342 U.S. 524, 531–32 (1952); Fong Haw Tan v.
  Phelan, 333 U.S. 6, 8 (1948); U.S. ex rel. Tisi v. Tod, 264 U.S.
  131, 132–33 (1924) Chin Yow v. United States, 208 U.S. 8, 13
  (1908); Yamataya v. Fisher, 189 U.S. 86, 87 (1903).
  But the plates began to shift during the mid-20th century.




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  New jurisdictional statutes became law. 32
  And now, immigration law looks in some basic ways like a branch
  of administrative law.
  Cases generally go in the first instance to immigration judges,
  see 8 C.F.R. § 1003.10, and immigration judges are roughly akin
  to other administrative judges. See footnote 2; 2 Fed. Proc.,
  L. Ed. § 2:159. And as with administrative judges, immigration
  judges’ decisions are ultimately funneled out of the agency ---
  for relatively late-in-the-process review by a federal court, a
  courts of appeals. See 8 U.S.C. § 1252(a)(5).
  Bottom line: immigration disputes are resolved using many of the
  same basic structures as bread-and-butter administrative
  disputes, like those involving the SEC, FTC, or FDA.
  The next section begins to explain why this similarity matters.

             2.    Thunder Basin

  The key question covered by this Opinion is this: under Section
  1252(b)(9), must the Petitioner’s constitutional challenge to
  the Secretary of State’s determination go forward in the first
  instance before this Court or before the immigration courts?
  At its core, this question is a variant on an everyday set of
  administrative law questions --- questions that are spun off by
  administrative-agency adjudication that, as the prior section
  shows, makes use of the same basic structure (agency
  adjudication, followed by federal court of appeals review) as
  modern immigration law.
  Look here at how administrative law generally handles issues of
  this sort, and then return, later, to immigration law and to
  EOHC.


  32 After the passage of the Immigration and Nationality Act of
  1952, there was some back and forth over where deportation
  orders might be reviewed. See Brownell v. We Shung, 352 U.S.
  180, 186 (1956); Shaughnessy v. Pedreiro, 349 U.S. 48, 51
  (1955); Heikkila v. Barber, 345 U.S. 229, 235–36 (1953). But
  this was mostly smoothed out by the passage of the 1961
  amendments to the INA, which made review in the federal courts
  of appeals the “sole and exclusive procedure” for judicial
  review of final orders of deportation. See Act of Sept. 26,
  1961, Pub. L. No. 87-301, 75 Stat. 650, 651.
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                                *     *     *
  As a matter of administrative law:
  What to do if a litigant tries to sue in federal district court,
  but a separate system of administrative-agency courts has been
  set up? Does she get to stay in the federal district court, or
  must she move over to the agency’s courts, and await federal
  court review in the court of appeals?
  The Supreme Court has answered these questions in a string of
  cases involving the Mine Safety and Health Administration, the
  Public Company Accounting Oversight Board, the Merit Systems
  Protection Board, and the Federal Trade Commission.
  The anchor case in the chain is Thunder Basin Coal Co. v. Reich,
  510 U.S. 200 (1994), and so the law in this area often goes by
  the shorthand of “Thunder Basin.”
  Thunder Basin law in a nutshell:
  If Congress has explicitly pulled jurisdiction away from the
  federal district courts, the case goes to the agency for first-
  cut adjudication there. See Axon, 598 U.S. at 185; Adorers of
  the Blood of Christ v. FERC, 897 F.3d 187, 195 (3d Cir. 2018);
  accord, e.g., Jarkesy v. SEC, 803 F.3d 9, 15 (D.C. Cir. 2015);
  Cochran v. SEC, 20 F.4th 194, 205 (5th Cir. 2021); Bank of La.
  v. FDIC, 919 F.3d 916, 923 (5th Cir. 2019); Jones Brothers, Inc.
  v. Sec’y of Lab., 898 F.3d 669, 675 (6th Cir. 2018); E. Bridge,
  LLC v. Chao, 320 F.3d 84, 88 (1st Cir. 2003).
  But if Congress has not explicitly pulled jurisdiction away from
  the federal district courts, ask: is it “fairly discernible”
  that Congress intended for claims to go to administrative courts
  as opposed to federal district courts? See Elgin v. Dep’t of
  Treasury, 567 U.S. 1, 10 (2012); Free Enter. Fund v. Pub. Co.
  Acct. Oversight Bd., 561 U.S. 477, 489 (2010); see also Axon,
  598 U.S. at 185. 33


  33 This question is mainly answered as matter of statutory
  interpretation --- with an eye, for example, on text and
  purpose. See Elgin, 567 U.S. at 10; Free Enter. Fund, 561 U.S.
  at 489; Thunder Basin, 510 U.S. at 207; Adorers, 897 F.3d at
  195; accord, e.g., Cochran, 20 F.4th at 199–205; Bank of La.,
  919 F.3d at 923; Hill v. SEC, 825 F.3d 1236, 1242 (11th Cir.
  2016); Tilton v. SEC, 824 F.3d 276, 281 (2d Cir. 2016); Bennett


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  If the answer to the step-one “fairly discernible” question is
  “no,” then the case stays in federal district court.
  If the answer to the “fairly discernible” question is “yes,”
  then the focus narrows, to the particular “type” of claim that
  is in play --- and whether (now, step-two) Congress wanted that
  type of claim to make its first stop in a federal court or
  before an administrative adjudicator. See Axon, 598 U.S. at
  186; Elgin, 567 U.S. at 22; Free Enter. Fund, 561 U.S. at 489;
  Thunder Basin, 510 U.S. at 208; Adorers, 897 F.3d at 195;
  Kreschollek v. S. Stevedoring Co., 78 F.3d 868, 873 (3d Cir.
  1996); accord, e.g., Cochran, 20 F.4th at 206; Tilton v. SEC,
  824 F.3d 276, 281 (2d Cir. 2016); Bennett v. SEC, 844 F.3d 174,
  181 (4th Cir. 2016); Bebo v. SEC, 799 F.3d 765, 769 (7th Cir.
  2015); Ne. Erectors Ass’n of BTEA v. Sec’y of Lab., Occupational
  Safety & Health Admin., 62 F.3d 37, 40 (1st Cir. 1995).
  To answer this “type” question, courts are to look to whether
  agency-first adjudication would: (1) supply “meaningful review”;
  (2) draw on agency expertise; and (3) run through issues that
  are core, rather than collateral. See Axon, 598 U.S. at 184–85;
  Elgin, 567 U.S. at 15; Free Enter. Fund, 561 U.S. at 489;
  Thunder Basin, 510 U.S. at 212–13; accord, e.g., Bank of La.,
  919 F.3d at 923; Hill v. SEC, 825 F.3d 1236, 1241 (11th Cir.
  2016); Tilton, 824 F.3d at 281; Bennett, 844 F.3d at 181;
  Jarkesy, 803 F.3d at 17; Bebo, 799 F.3d at 769.
  Of these three, “meaningful review” is by far the most
  important. See Bennett, 844 F.3d at 183 n.7; Hill, 825 F.3d at
  1245; Tilton, 824 F.3d at 282; Bebo, 799 F.3d at 774.
  Can there be “meaningful review” if Article III review is
  deferred until after the administrative court finishes its work
  and hands things over to the federal court of appeals?
  Or does “meaningful review” require that the claim be heard,
  now, in the federal district court? 34


  v. SEC, 844 F.3d 174, 181 (4th Cir. 2016); Bebo v. SEC, 799 F.3d
  765, 769 (7th Cir. 2015).

  34 Saying yes to this question would bypass Congress’ broader
  choice to send claims to the agency’s courts. But it would do
  so on the theory that Congress would have wanted a particular
  “type” of claim to go forward first in the federal district


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        C.   EOHC In Context

  Come back now to the EOHC case, and see it in light of the
  broader administrative law principles laid out just above.
  EOHC was an immigration-adjudication case.
  And as discussed, the basic structure of immigration
  adjudication is closely similar to the structure of
  administrative adjudication more generally. See Part V.B.1.
  No surprise, then, that in those closely related contexts,
  similar questions are answered in roughly the same way.
  The questions:
  Do the relevant statutes mean that a case stays in federal
  district court? Or do they mean that a case is channeled in the
  first instance to agency tribunals, like SEC, FTC, or
  immigration courts --- and only after they are done with their
  work does the case potentially go to federal court, a federal
  court of appeals?
  The answer:
  Under Thunder Basin (for administrative law in general) and
  under EOHC (for immigration law in particular) the answer is
  largely the same: it depends on whether delayed federal court
  review is consistent with the imperative of “meaningful review.”
  The key point: EOHC was, in essence, applying general
  administrative law rules (the Thunder Basin rules) to closely
  related immigration law questions.
  And EOHC applied Thunder Basin systematically.
  EOHC precisely invoked Thunder Basin’s step-one test. Compare
  Thunder Basin, 510 U.S. at 207 (“In cases involving delayed
  judicial review . . . , we shall find that Congress has
  allocated initial review to an administrative body where such
  intent is fairly discernible.”) (emphasis added) (cleaned up),
  with EOHC, 950 F.3d at 188 (“We look to whether the
  congressional intent to preclude judicial review is fairly
  discernible in the statutory scheme.”) (emphasis added) (cleaned
  up).


  court if that is the way to get “meaningful review.”            See
  Thunder Basin, 510 U.S. at 212—13.
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  EOHC undertook the basic step-one analysis prescribed in Thunder
  Basin. Compare Thunder Basin, 510 U.S. at 207 (to get at the
  question of Congressional intent, looking to a “statute’s
  language, structure, and purpose”), with EOHC, 950 F.3d at 188
  (“In discerning that intent, we look at the statute’s ‘text,
  structure, and purpose.’”) (quoting Elgin, 567 U.S. at 10).
  And, as has been noted, EOHC focused on the main Thunder Basin
  step-two concern --- “meaningful” judicial review. Compare
  Thunder Basin, 510 U.S. at 207 (“Whether a statute is intended
  to preclude initial judicial review is determined from . . .
  whether the claims can be afforded meaningful review.”), with
  EOHC, 950 F.3d at 180, 186, 189–90. 35
                                *     *     *
  In applying the Thunder Basin rules, 36 why did EOHC land on the
  “meaningful review” rule?
  Per the Thunder Basin line of cases, that is the standard to use
  when Congress has not said in an “explicit” way that certain

  35 EOHC also cited a source that mentioned one of the other two
  Thunder Basin factors. Compare Thunder Basin, 510 U.S. at 212
  (“[t]his Court previously has upheld district court jurisdiction
  over claims considered wholly collateral to a statute’s review
  provisions”), with EOHC, 950 F.3d at 186 (citing the appellants’
  reply brief at 16 --- which noted that “claims independent of or
  collateral to the removal process are excluded”).

  36 Too much should not be made of the fact that EOHC did not
  cite Thunder Basin or explicitly invoke its two-step analysis.
  EOHC cited Elgin, see EOHC, 950 F.3d at 188, and that is a key
  case in the Thunder Basin line. More fundamentally, the
  question of whether review will be “meaningful” --- and
  therefore whether federal court review should be deferred in
  favor of agency review --- has long been a part of
  administrative law’s DNA. See Axon, 598 U.S. at 192; McNary v.
  Haitian Refugee Ctr., 498 U.S. 479, 496 (1991); Mathews v.
  Eldridge, 424 U.S. 319, 341 (1976); Goldberg v. Kelly, 397 U.S.
  254, 262–63 (1970). It long predates Thunder Basin and was
  clearly part of the EOHC court’s thinking. Compare EOHC, 950
  F.3d at 186 (citing McNary for the proposition that there was no
  jurisdiction-stripping over certain claims when “meaningful
  judicial review . . . would [otherwise] be foreclosed”), with
  Thunder Basin, 510 U.S. at 213–14 (reasoning from McNary).

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  types of cases must go to an administrative court.            See Part
  V.B.1.
  Presumably, the EOHC court did not view Congress as having
  provided sufficiently “explicit” direction as to whether certain
  cases must first go to immigration courts. 37
                                *     *     *
  In a nutshell: to determine whether to apply Section 1252(b)(9)
  to a given claim, EOHC applied Thunder Basin, and in particular
  its “meaningful review” test.

        D.   Massieu

  EOHC sits atop Thunder Basin --- and foregrounding this only
  emphasizes the close continuity between EOHC and one of the
  Third Circuit’s key precedents in this area, Massieu.
  To see the point, look now to Massieu.
  During the mid-1990s, the federal government sought to remove a
  Mexican national, Mario Ruiz Massieu, from the United States.
  See Massieu v. Reno, 91 F.3d 416, 417-19 (3d Cir. 1996).
  This was to be done based on a determination made by Secretary
  of State Warren Christopher, using the same law invoked in this
  case to seek the removal of the Petitioner. See id. at 418.
  Massieu sued, and Judge Barry, then of this Court, ruled that
  she had jurisdiction over the case. See Massieu v. Reno, 915 F.




  37 And such a conclusion is not surprising. After all, the
  argument that there is an “explicit” congressional directive as
  to where cases should go rests largely on Section 1252(b)(9).
  But Chehazeh held that in this “type” of case, a pre-order-of-
  removal case, Section 1252(b)(9) is inapplicable. And in any
  event, the Justices have suggested a range of different views as
  to whether Section 1252(b)(9) applies before entry of an order
  of removal. See footnote 25. That suggests that the
  explicitness test is not met, especially against the backdrop of
  the various presumptions against jurisdiction-stripping that
  EOHC leaned on. See 950 F.3d at 184.


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  Supp. 681, 697 (D.N.J. 1996), rev’d, 91 F.3d 416 (3d Cir.
  1996). 38
  The Third Circuit, per then-Judge Alito, reversed. See Massieu,
  91 F.3d at 425. It held that the case needed to first go to the
  immigration courts. See id.
  The Third Circuit in Massieu came to that conclusion by
  analyzing the case using the two-step Thunder Basin doctrine
  described above in Part IV.B.
  First, Judge Alito looked to text, purpose, and other sources to
  decide if Congress had expressed a “fairly discernible” intent
  to send the case to an immigration judge in the first instance,
  and not to a federal district judge. See id. at 420.
  And the Massieu court then went to the second step, moving
  through each of the required Thunder Basin factors --- the
  critical “meaningful review” factor, plus the “collateral” and
  “expertise” factors. See id. at 422.
                                *     *     *
  Massieu is relevant here in three main ways.
                                *     *     *
  First, Massieu is very similar to this case.
  The Respondents go so far as to say it is “on all fours.” See
  Opposition Brief at 12. And there is a lot to that. Massieu
  involved the same statute as this case (what is now 8 U.S.C.
  § 1227(a)(4)(C)(i)) and the same question as this case (in what
  court should the claim start?).
  Whether Massieu controls the outcome here is taken up in the
  next Part.
                                *     *     *
  Second, Massieu, as noted, is closely consistent with EOHC.
  EOHC and Massieu land in the same place --- on a concern for
  “meaningful review” as a key touchstone for deciding whether a

  38 On the merits, Judge Barry held that 8 U.S.C.
  § 1251(a)(4)(C)(i) (now 8 U.S.C. § 1227(a)(4)(C)(i)) is
  unconstitutionally vague. See Massieu, 915 F. Supp. at 703.
  The Petitioner here has not made that argument. See footnote 7.


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  case must go to the immigration courts before a federal district
  court.
  EOHC and Massieu thus point in the same direction.
  Each suggests that, on the assumption that Section 1252(b)(9)
  applies here, 39 this Court must conduct a Thunder Basin-type
  analysis, and with an emphasis on Thunder Basin’s most important
  factor --- “meaningful” judicial review. 40
                                *     *     *
  Third and finally, Massieu undermines any argument that the
  immigration laws in some “explicit” way require that this case
  be sent now to the immigration courts.
  After all, if the immigration laws were explicit on that point,
  then Judge Alito’s opinion would not have done what it did. It
  would not have conducted a Thunder Basin analysis --- because
  that is called for only when the relevant laws are not
  explicit. 41


  39   See Part IV.B and Part IV.C.

  40 EOHC and Massieu are no outliers. Federal courts often rely
  on Thunder Basin to decide whether a claim should be heard in
  immigration courts or in the federal district court. See, e.g.,
  Miriyeva v. U.S. Citizenship & Immigr. Servs., 9 F.4th 935, 939
  (D.C. Cir. 2021); Adi v. Mayorkas, 2022 WL 267989, at *7 (N.D.
  Ill. Jan. 28, 2022); O.A. v. Trump, 404 F. Supp. 3d 109, 136
  (D.D.C. 2019); Ramirez v. U.S. Immigr. & Customs Enf’t, 338 F.
  Supp. 3d 1, 37 (D.D.C. 2018); Jafarzadeh v. Nielsen, 321 F.
  Supp. 3d 19, 30–31 (D.D.C. 2018); Jafarzadeh v. Duke, 270 F.
  Supp. 3d 296, 308 (D.D.C. 2017); see also J.E.F.M. v. Lynch, 837
  F.3d 1026, 1035–36 (9th Cir. 2016); Aguilar, 510 F.3d at 11; cf.
  Duron v. Johnson, 898 F.3d 644, 647 (5th Cir. 2018).

  41 And the point can be seen more directly, too. For the key
  proposition, Massieu cited a federal-common-law rule and a
  treatise, not an explicit statutory provision.
             Even where an alien is attempting to prevent
             an exclusion or deportation proceeding from
             taking place in the first instance and is
             thus not, strictly speaking, attacking a
             final order of deportation or exclusion, it


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  To be sure, the immigration laws have changed a good deal since
  Massieu was handed down in 1996.
  But the three main statutes that Judge Alito reasoned from
  remain on the books, and in substantively similar form.
  The main one was 8 U.S.C. § 1105a(c) (1996) (“[A]n order of
  deportation . . . shall not be reviewed by any court if the
  alien has not exhausted the administrative remedies[.]”).
  It has since been revised, with the current version at 8 U.S.C.
  § 1252(d)(1) (“A court may review a final order of removal only
  if . . . the alien has exhausted all administrative remedies.”).
  But the two statutes “state[] the same requirements in
  essentially the same language.” Duvall v. Elwood, 336 F.3d 228,
  231 (3d Cir. 2003). Indeed, the Third Circuit has held that
  Massieu’s analysis still governs Section 1252(d)(1). See id. at
  232.
  And the two other statutes that Massieu relied on also remain on
  the books, tweaked here and there but substantively the same.
  Compare 8 U.S.C. § 1105a(a) (1996) (“the sole and exclusive
  procedure for . . . the judicial review of all final orders of
  deportation” is through a petition for review), and 8 U.S.C.

             is well settled that “judicial review is
             precluded if the alien has failed to avail
             himself of all administrative remedies,” one
             of which is the deportation or exclusion
             hearing itself. See, e.g., Xiao v. Barr,
             979 F.2d 151, 153 (9th Cir. 1992); see also
             3 Charles Gordon & Stanley Mailman,
             Immigration Law and Procedure § 81.02[2], at
             81–26–28 (1996) (“A person against whom a
             deportation proceeding is brought may feel
             that the proceeding is unjustified and
             illegal but generally has no right to go to
             court immediately to stop the proceeding.
             Congress has provided an administrative
             device for passing upon an alien’s
             deportability, and generally there must be a
             final administrative ruling before judicial
             review can be initiated.”).
  Massieu, 91 F.3d at 421.

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  § 1252(b) (1996) (“[T]he [administrative] procedure so
  prescribed shall be the sole and exclusive procedure for
  determining the deportability of an alien under this section.”),
  with 8 U.S.C. § 1252(a)(5) (“[A] petition for review filed with
  an appropriate court of appeals . . . shall be the sole and
  exclusive means for judicial review[.]”), and 8 U.S.C.
  § 1229a(a)(3) (“[A] proceeding under this section shall be the
  sole and exclusive procedure for determining whether an alien
  may be . . . removed from the United States.”).
  And the most relevant new, post-Massieu statute ---
  Section 1252(b)(9) --- either does not apply to this case, per
  Chehazeh, or does not provide explicit enough direction. See
  footnote 37.

        E.   Conclusion

  Pause now briefly to see where things stand:
  The Third Circuit in Chehazeh held that Section 1252(b)(9) does
  not apply to cases like this one, in which no order of removal
  has been entered. Therefore, Section 1252(b)(9) is irrelevant
  here, and does not strip this Court of jurisdiction. See
  Part IV.
  But even if Section 1252(b)(9) were understood to apply here, as
  EOHC might suggest, see Part V.A, that Section would apply only
  when sending a case to the immigration courts is consistent with
  the Thunder Basin requirement of “meaningful review.”
  That was the approach the Third Circuit took in EOHC, see Part
  V.B and Part V.C, and that is consistent with the Third
  Circuit’s approach in Massieu. See Part V.D.
  So assuming arguendo that Section 1252(b)(9) applies here, the
  question is this: would this case get the required “meaningful
  review” if it starts out in immigration court, as opposed to
  here?
  Take that up in the next Part.

  VI.   Meaningful Review

  Immigration courts are tasked with doing important work on
  behalf of our country. According to recent statistics, for
  example, there are almost four million pending immigration cases
  spread out across 700 or so immigration judges. See Pending

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  Cases, New Cases, and Total Completions, Exec. Off. for Immigr.
  Rev., https://perma.cc/L659-S8P5 (accessed on Apr. 29, 2025);
  Office of the Chief Immigration Judge, Exec. Off. for Immigr.
  Rev., https://perma.cc/8H5S-EPW6 (accessed on Apr. 29, 2025).
  But different institutions are built for different tasks and
  given different tools.
  Immigration courts are not legally permitted to provide the
  relief (striking down the Secretary of State’s determination)
  that the Petitioner seeks here. See Part VI.A.
  And immigration courts cannot be expected to undertake the fact-
  finding that may potentially be required to evaluate the
  Petitioner’s claim that the Secretary’s determination is
  unconstitutional. See Part VI.B.
  To be sure, immigration courts routinely tee up constitutional
  issues for eventual review by federal courts of appeals --- even
  when the immigration courts themselves lack the power to remedy
  the alleged violation.
  But the immigration courts cannot do that here --- in part
  because of a prior Board of Immigration Appeals decision. See
  Part VI.C.
  What this adds up to: the immigration courts could not
  meaningfully develop this case, legally or factually.
  Therefore, the period that might be spent before those courts
  will not advance the ball.
  In some circumstances, that may be just how it has to be. Cases
  can take a while to resolve. And sending cases to the
  immigration courts is typically required even when doing so will
  accomplish only a modest amount.
  But in this case, what can be accomplished is much less than
  that.
  And a period of delay while this case is pending before the
  immigration courts, knowing that there will be little or nothing
  to show for it --- that does not work.
  The reason is this: the Petitioner’s core argument is that his
  free speech rights are being violated, now. See Part VI.D.
  And the Supreme Court has held over and over again, in numerous
  contexts, that meaningful review of First Amendment claims
  generally means rapid, prioritized review. See id.

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  That is not consistent with postponing federal court
  consideration of the Petitioner’s First Amendment claims.
  Begin seeing all of this just below.

        A.   Legal Remedies

  As has been discussed, the Petitioner claims that the Secretary
  of State’s determination is a product of First Amendment
  retaliation, and that this Court should therefore enter an order
  to vacate it. See Motion for Preliminary Injunction at 9–10;
  see also Petition ¶¶ 88–90.
  Can the immigration courts do this?
  The Respondents say the answer is no. 42
  Under the heading “The IJ Cannot Vacate the Secretary of State’s
  Determination or Issue the Requested Injunction,” they say:
             The authority of immigration judges comes
             from the INA and regulations. The INA
             provides that an immigration judge “shall
             conduct proceedings for deciding the
             inadmissibility or deportability of an
             alien.” The immigration judge has the
             authority to determine removability and to
             adjudicate requests for certain forms of
             relief from removal. The INA and
             implementing regulations do not provide the
             immigration judge with general injunctive or
             equitable authority. Thus, an immigration
             judge cannot order the Secretary of State to


  42 Were the Petitioner seeking to invalidate Section
  1227(a)(4)(C)(i) on constitutional grounds, which he is not, see
  footnotes 7 and 38, the immigration courts would lack the power
  to do that, too. See In re Salazar-Regino, 23 I. & N. Dec. 223,
  231 (BIA 2002) (“We have long declared that we lack authority to
  rule on the constitutionality of the statutes we administer.”);
  see also Johnson v. Robison, 415 U.S. 361, 368 (1974)
  (“[A]djudication of the constitutionality of congressional
  enactments has generally been thought beyond the jurisdiction of
  administrative agencies.”); accord, e.g., Breinza-Schettino v.
  Att’y Gen. of U.S., 221 F. App’x 140, 144–45 (3d Cir. 2007);
  Nehme v. INS, 252 F.3d 415, 421 (5th Cir. 2001); Liu v. Waters,
  55 F.3d 421, 426 (9th Cir. 1995).
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             take or not take any action regarding the
             type of foreign policy determination at
             issue here.
  Respondents’ Letter (Apr. 11, 2025) (ECF 190) at 2 (cleaned up).
                                *     *     *
  But this way of thinking is too formalistic.
  When a court is asked to put a stop to allegedly illegal
  behavior that is happening out in the world, the request is
  usually framed as an ask for an injunction.
  But things are different when a judge is asked to issue an order
  as to a matter happening right before her, in her own courtroom.
  Imagine a judge overseeing a criminal prosecution. Drugs were
  seized (but there was no warrant), and a confession was made
  (but there were no Miranda warnings).
  The defendant might want an order from the court suppressing the
  evidence, so that the jury cannot learn of it. Order that the
  drugs be excluded as the fruit of a Fourth Amendment violation,
  the defendant will say. And order that the confession be put
  aside, as the product of a Fifth Amendment breach.
  But the defendant, seeking an order, will not describe this as a
  request for an injunction (which is, after all, a kind of
  order). 43


  43 One reason is this: an injunction generally issues only based
  on a sense, among other things, that the public interest demands
  it. See, e.g., Monsanto Co. v. Geertson Seed Farms, 561 U.S.
  139, 156–57 (2010); Winter v. Nat’l Res. Def. Council, Inc., 555
  U.S. 7, 20 (2008); eBay, Inc. v. MercExchange, LLC, 547 U.S.
  388, 391 (2006); see also Samuel L. Bray, The System of
  Equitable Remedies, 63 UCLA L. Rev. 530, 585–86 (2016). A
  defendant wants to argue that drugs should be suppressed because
  the search was illegal. He does not want to also have to argue
  that suppressing the drugs is a good from the perspective of the
  public interest. (And equitable claims are especially difficult
  to make out in any number of other ways, too. For example, at
  least some suppression orders likely could not issue as
  injunctions because the defendant, seeking to suppress what is
  his own contraband, see Rakas v. Illinois, 439 U.S. 128, 133–34


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  All of this implies that the right question here is not whether
  the immigration courts can enjoin the Secretary’s determination
  as being the result of a violation of the First Amendment ---
  but rather whether the immigration courts can suppress the
  Secretary’s determination as a violation of the First Amendment.
  And a suppression framing makes sense on the facts of this case.
  After all, the Secretary of State’s determination is evidence
  (indeed, the only evidence) put forward in support of the
  Department of Homeland Security’s effort to remove the
  Petitioner under Section 1227(a)(4)(C)(i).
  And evidence obtained at Time 2 is sometimes ordered suppressed
  at Time 3 because it was gathered at Time 1 in violation of the
  Fourth Amendment or the Fifth. So why not the First?
  The immigration courts, as noted, do not have power to enjoin
  the Secretary of State’s determination on the grounds that it
  violates the First Amendment.
  But do they have the power to suppress the Secretary’s
  determination on those same grounds?
                                *     *     *
  Shifting the framing clarifies the question to ask.            But it does
  not change the answer.
  The reason: with a caveat taken up below in footnote 46, the
  Supreme Court has held that in removal proceedings the Fourth
  Amendment exclusionary rule is not available; evidence obtained
  in violation of the Fourth Amendment can come in. See INS v.
  Lopez-Mendoza, 468 U.S. 1032, 1034 (1984).
  Part of the explanation is that the immigration courts, per the
  Supreme Court in Lopez-Mendoza, were built to quickly determine
  whether someone is removable --- not to ask and answer broader
  questions, such as whether someone else violated the
  Constitution. Lopez-Mendoza:


  (1978), could not make the “clean hands” showing that equity
  typically requires. See Precision Instrument Mfg. Co. v. Auto.
  Maint. Mach. Co., 324 U.S. 806, 814 (1945); Johnson v. Yellow
  Cab Transit Co., 321 U.S. 383, 387 (1944); see also Bray at
  581.)


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             The INS currently operates a deliberately
             simple deportation hearing system,
             streamlined to permit the quick resolution
             of very large numbers of deportation
             actions, and it is against this backdrop
             that the costs of the exclusionary rule must
             be assessed. The costs of applying the
             exclusionary rule, like the benefits, must
             be measured at the margin.
             [In 1984] [t]he average immigration judge
             handles about six deportation hearings per
             day. Neither the hearing officers nor the
             attorneys participating in those hearings
             are likely to be well versed in the
             intricacies of Fourth Amendment law. The
             prospect of even occasional invocation of
             the exclusionary rule might significantly
             change and complicate the character of these
             proceedings.
  Id. at 1048.
  In support of its approach, the Lopez-Mendoza Court quoted the
  Board of Immigration Appeals, which was also opposed to Fourth
  Amendment exclusion remedies in immigration courts. The Board,
  as quoted by the Supreme Court:
             Absent the applicability of the exclusionary
             rule, questions relating to deportability
             routinely involve simple factual allegations
             and matters of proof. When Fourth Amendment
             issues are raised at deportation hearings,
             the result is a diversion of attention from
             the main issues which those proceedings were
             created to resolve, both in terms of the
             expertise of the administrative decision
             makers and of the structure of the forum to
             accommodate inquiries into search and
             seizure questions. The result frequently
             seems to be a long, confused record in which
             the issues are not clearly defined and in
             which there is voluminous testimony. . . .
             The ensuing delays and inordinate amount of
             time spent on such cases at all levels has
             an adverse impact on the effective
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             administration of the immigration
             laws. . . . This is particularly true in a
             proceeding where delay may be the only
             “defense” available and where problems
             already exist with the use of dilatory
             tactics.
  Id. at 1048–49 (quoting Matter of Sandoval, 17 I. & N.
  Dec. 70, 80 (BIA 1979)).
  Building the record for a Fourth Amendment suppression challenge
  would not always very dramatically “change and complicate”
  removal hearings. See id. at 1048.
  After all, in many cases the Fourth Amendment suppression
  evidence would come in wholly through the immigration agents who
  made the relevant arrest in the first place. See id. at 1043
  (“[T]he agency officials who effect the unlawful arrest are the
  same officials who subsequently bring the deportation action.”).
  But even given that, the Supreme Court determined in Lopez-
  Mendoza that the “diversion of attention” implicit in Fourth
  Amendment suppression hearings weighed against allowing Fourth
  Amendment suppression motions to be made in immigration
  proceedings. See id. at 1048–49.
  But if Fourth Amendment suppression motions cannot generally be
  made --- then surely First Amendment suppression motions have no
  place, either.
  If a Fourth Amendment suppression hearing (typically involving
  testimony from arresting immigration agents) is a bridge too
  far, then a First Amendment suppression hearing (which in this
  case could conceivably seek testimony from our country’s top
  officials) is also a bridge too far --- and then some.
                                *     *     *
  The conclusion set out just above is buttressed from two sides.
  First, look to the one on-point case in this area. The Second
  Circuit was asked whether immigration courts can consider a
  First Amendment suppression argument. Its answer was no. See
  Montero v. INS, 124 F.3d 381 (2d Cir. 1997) (“We decline [the]
  invitation to fashion an exclusionary rule for evidence obtained
  in violation of an individual’s First Amendment rights.”)
  (citing Lopez-Mendoza).


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  And second, look to what the immigration judge in this
  case said about the scope of her powers. 44
  Before the immigration judge, the Petitioner made various
  motions to compel discovery. For example, he moved to issue a
  subpoena to the Secretary of State, as well as to compel the
  production of certain documents. 45
  But the immigration judge denied those motions.
  She said the authority of immigration judges “is very limited to
  two things. Is [the Petitioner] removable from the United
  States, and does he have relief available to him from removal if
  he is found removable.” Audio Recording of Hearing (April 8,


  44 In deciding whether “meaningful review” can be conducted
  before an administrative court, federal courts routinely look to
  what the administrative court has in fact actually done. Take
  Jarkesy v. SEC, 803 F.3d 9 (D.C. Cir. 2015). There, an
  investment advisor filed suit in a federal district court,
  pressing constitutional claims. Could an SEC administrative law
  judge provide meaningful review? Yes, the D.C. Circuit
  answered. See id. at 28. How to know? Because the D.C.
  Circuit had read the administrative law judge’s decisions and
  observed that she had “considered and rejected” the plaintiff’s
  arguments. Id. Another example: in Aguilar v. U.S. Immigration
  and Customs Enforcement Division, 510 F.3d 1 (1st Cir. 2007),
  the First Circuit asked whether the petitioners could have
  gotten “effective relief” for their right-to-counsel claims
  through the immigration courts. Yes, the First Circuit held.
  Id. at 14. “The proof” was that during the removal proceedings
  “each petitioner who requested a continuance for the purpose of
  retaining counsel received one.” Id. And a final example. The
  Fifth Circuit considered whether the Federal Deposit Insurance
  Corporation’s administrative proceedings could adequately assess
  claims that the “enforcement proceedings were tainted by
  constitutional violations.” See Bank of La., 919 F.3d at 926.
  Yes. Part of why: the administrative law judge, per the Fifth
  Circuit, had written a “lengthy, detailed, and well-reasoned
  opinion” on the claims, such that it was clear that the
  proceedings qualified as “meaningful judicial review.” Id.
  45 It appears that this was likely understood as connected to a
  First Amendment issue. See April 11 Audio Recording at 23:50 to
  25:24.
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  2025) (“April 8 Audio Recording”) at 21:12 to 21:24; see
  Petitioner’s Letter (Apr. 11, 2025), at 3 n.4.
  And the immigration judge suggested that to the extent any
  constitutional issues were being raised, she could not take them
  on. See April 11 Audio Recording at 1:35:35 to 1:36:00 (“I
  understand . . . that you would like to challenge the authority
  of the Secretary of State . . . , but you will need to take that
  up with Congress. This court is without jurisdiction to
  entertain challenges to the validity of such laws under the
  Constitution.”); see also April 8 Audio Recording at 21:12 to
  21:24; Petitioner’s Letter (Apr. 11, 2025), at 3 n.4.
  Finally, as to seeking a subpoena for the Secretary of State,
  the immigration judge said of the Petitioner that he was “in the
  wrong court for that.” April 8 Audio Recording at 20:55–58; see
  Petitioner’s Letter (Apr. 11, 2025), at 3 n.4.
                                *     *     *
  In a nutshell:
  The Petitioner seeks here an injunction vacating the Secretary
  of State’s determination. But the immigration courts cannot
  issue injunctions. And they cannot suppress evidence (like the
  Secretary’s determination) on First Amendment grounds. That
  conclusion is based on an analogy to Fourth Amendment
  suppression, an on-point Second Circuit decision, and the
  immigration judge’s approach here. 46

  46 A final note. In Lopez-Mendoza, a plurality of the Court,
  not a majority, said this: “we do not deal here with egregious
  violations of Fourth Amendment or other liberties that might
  transgress notions of fundamental fairness and undermine the
  probative value of the evidence obtained.” 468 U.S. at 1050–51.
  This left the door open, and a number of circuits have held that
  suppression is indeed available in immigration courts when the
  Fourth Amendment is violated in sufficiently “egregious” or
  “widespread” ways. See, e.g., Corado-Arriaza v. Lynch, 844 F.3d
  74, 77 (1st Cir. 2016); Almeida-Amaral v. Gonzales, 461 F.3d
  231, 235 (2d Cir. 2006); Yoc-Us v. Att’y Gen. U.S., 932 F.3d 98,
  111 (3d Cir. 2019); Yanez-Marquez v. Lynch, 789 F.3d 434, 450
  (4th Cir. 2015); Puc-Ruiz v. Holder, 629 F.3d 771, 778 (8th Cir.
  2010); Martinez-Medina v. Holder, 673 F.3d 1029, 1033–34 (9th
  Cir. 2011). Other circuits have suggested openness to such an


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        B.   Factual Development

  As noted just above, the immigration courts cannot give the
  Petitioner the legal relief he seeks as to the Secretary of
  State’s allegedly unconstitutional determination. Whether
  through injunction or suppression --- the immigration courts
  cannot push aside the Secretary’s determination.
  But in some cases, a person is suing to get a statute
  invalidated as it applies to him.
  And most of the time (if not all of the time) that is not
  something that an agency court is legally empowered to do.



  exception. See, e.g., United States v. Navarro-Diaz, 420 F.3d
  581, 587 (6th Cir. 2005). Maybe it could be argued that the
  “egregious” exception leaves room for First Amendment
  suppression in this case? The argument would presumably run
  like this: (a) the Lopez-Mendoza plurality allowed for the
  possibility of an “egregious” Fourth Amendment suppression
  exception, (b) the exception does in fact exist, (c) it should
  be extended to the First Amendment suppression context in
  general, and (d) to this “egregious” case in particular. If
  this argument is persuasive, then maybe the immigration courts
  could provide a First Amendment suppression remedy here. But
  the argument does not work. The reason: link (b) in the chain
  cannot hold up. The immigration judge here is in Louisiana, so
  any review will be to the Fifth Circuit, see 8 U.S.C.
  § 1252(b)(2), whose precedent will control. See Ballesteros v.
  Ashcroft, 452 F.3d 1153, 1157 (10th Cir. 2006). And the Fifth
  Circuit has flatly held that “[i]t is well established that the
  fourth amendment exclusionary rule is not to be applied in
  deportation proceedings.” Mendoza-Solis v. INS, 36 F.3d 12, 14
  (5th Cir. 1994). (Some other Fifth Circuit cases seem to go the
  other way, and to treat an “egregious” Fourth Amendment
  suppression exception as a part of the law. But one is dicta in
  a Bivens case. See De La Paz v. Coy, 786 F.3d 367, 376 (5th
  Cir. 2015). And the rest are cases not selected for
  publication. See Escobar v. Holder, 398 F. App’x 50, 53 (5th
  Cir. 2010); Gonzalez-Reyes v. Holder, 313 F. App’x 690, 695 (5th
  Cir. 2009); Verduzco-Contreras v. Gonzalez, 160 F. App’x 406,
  408 (5th Cir. 2005). Under the Fifth Circuit’s rules, see 5th
  Cir. R. 47.5, unpublished cases are out of bounds.)

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  But even in those sorts of circumstances, federal courts often
  require that the case be sent first to an administrative court.
  See Elgin, 567 U.S. at 17; Thunder Basin, 510 U.S. at 215;
  Massieu, 91 F.3d at 426; accord, e.g., Hill, 825 F.3d at 1245;
  Tilton, 824 F.3d at 279, 290; Bennett, 844 F.3d at 176, 184;
  Bebo, 799 F.3d at 767, 771; Nat’l Taxpayers Union v. U.S. Soc.
  Sec. Admin., 376 F.3d 239, 243–44 (4th Cir. 2004).
  There are a number of reasons why.
  One of them: even if the agency’s courts cannot themselves
  deliver the requested remedy, they can prepare the field --- by
  finding the facts, so that a federal court of appeals will have
  a solid record to work from when it gets the case. See Elgin,
  567 U.S. at 19–20; accord, e.g., Bank of La., 919 F.3d at 927;
  Chau v. SEC, 665 F. App’x 67, 71 (2d Cir. 2016); Hill, 825 F.3d
  at 1249; Jarkesy, 803 F.3d at 21–22; Bebo, 799 F.3d at 773.
  But in this case, the immigration courts would not be able to do
  the fact-finding that a federal court of appeals would need down
  the road.
  The Court explains why here.
                                *     *     *
  To see the limits of the immigration courts’ fact-finding, try
  to peer around the corner --- to predict the sorts of factual
  issues that may possibly come up as the case unfolds. 47
  One of those issues is suggested by the Respondents, and it
  provides a helpful example of the fact-finding difficulties that
  the immigration courts would encounter in this case.
  The Petitioner claims that his detention is the product of First
  Amendment retaliation. See Motion for Preliminary Injunction at
  3; see also Petition ¶¶ 88–90. But the Respondents say that
  this argument “is likely to fail.” Opposition Brief at 28.
  The reason why: to make out a retaliatory-detention claim under
  the First Amendment, the Respondents say, the Petitioner must
  show that there was no probable cause for his arrest. See



  47 The discussion in this section assumes that fact-finding is
  necessary. But the Court has not developed views on whether
  this case can be resolved on the papers, or will require
  evidentiary development.
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  Nieves v. Bartlett, 587 U.S. 391, 402 (2019) (cited by the
  Opposition Brief at 28).
  But, the Respondents argue, the Petitioner cannot make that
  showing. See Opposition Brief at 28. The Secretary of State’s
  determination and the Petitioner’s alleged failure-to-disclose
  on his lawful permanent resident application are said to be
  “facially valid reasons” to remove him from the country. Id. at
  28.
  Therefore, the Respondents’ argument goes, federal officials had
  probable cause to detain the Petitioner --- and under Nieves,
  cited just above, his First Amendment argument hits a quick dead
  end. See id.
  Moreover, the Respondents argue, the Petitioner has not tried to
  use the exception to all this that the Supreme Court suggested
  in Nieves. See id. at 28–29.
  Under that exception, the Petitioner may not actually need to
  establish an absence of probable cause. Per the Nieves Court:
  “The no-probable-cause requirement should not apply when [the
  Petitioner] presents objective evidence that he was arrested
  when otherwise similarly situated individuals not engaged in the
  same sort of protected speech had not been.” 587 U.S. at 407.
  Look just a bit over the horizon, and it seems possible that the
  Petitioner could try to press a selective-enforcement defense --
  - contending, presumably, that other “similarly situated
  individuals” have not been the subject of a
  Section 1227(a)(4)(C)(i) determination by the Secretary of
  State.
  To make out this defense, the Petitioner would potentially seek
  some discovery --- as to others, for example, against whom
  enforcement actions may not have been taken, and perhaps as to
  the decision-making process of senior federal officials.
  Can the immigration courts provide “meaningful” factual
  development as to those issues?
  It is hard to see how they could.
  The Supreme Court, after all, has suggested that even narrow-
  gauge Fourth Amendment suppression hearings are not a good fit
  for the tight focus of the immigration courts. See Lopez-
  Mendoza, 468 U.S. at 1046–50.


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  And as noted above, the immigration judge in this case herself
  declined to permit any discovery. See April 8 Audio Recording
  at 20:55–58 (stating the Petitioner was “in the wrong court” for
  obtaining a subpoena of the Secretary). 48
                                *     *     *
  Given the limits of fact-finding in the immigration courts,
  federal courts have sometimes taken up immigration claims,
  rather than require them to wind their way through agency
  courts.



  48 Selective enforcement can be raised as a kind of defense to a
  defense, as in Nieves: does selective enforcement undermine the
  probable cause defense to a First Amendment retaliation claim?
  But selective enforcement can also be raised in more garden-
  variety affirmative contexts: was a person targeted for
  immigration enforcement in the first place based on selective
  enforcement? See Ragbir v. Homan, 923 F.3d 53, 62, 67 (2d Cir.
  2019), cert. granted, judgment vacated sub nom. Pham v. Ragbir,
  141 S. Ct. 227 (2020); AADC, 70 F.3d at 1052; Massieu, 91 F.3d
  at 418. Can the immigration courts draw on their experience
  when it comes to building out the second sort of selective-
  enforcement case to develop a factual record as to selective
  enforcement that is raised in the first context? Not really.
  The reason is that affirmative selective-enforcement claims are
  very rarely handled by the immigration courts. For nearly 30
  years, such claims have largely been unavailable to noncitizens
  without lawful status in the United States. See AADC, 525 U.S.
  at 488 (“[A]n alien unlawfully in this country has no
  constitutional right to assert selective enforcement as a
  defense against his deportation.”). And even before AADC
  foreclosed many selective-enforcement claims, immigration courts
  generally steered clear of them --- largely to avoid trenching
  on federal immigration officials’ discretion. See Matter of
  Merced, 14 I. & N. Dec. 644, 645 (BIA 1974); Matter of Lennon,
  15 I. & N. Dec. 9, 12 (BIA 1974), overruled on other grounds by
  Matter of Esqueda, 20 I. & N. Dec. 850 (BIA 1994); Matter of
  Geronimo, 13 I. & N. Dec. 680, 681 (BIA 1971); see also Corredor
  v. Holder, 481 F. App’x 442, 444 (10th Cir. 2012); Cortez-Felipe
  v. INS, 245 F.3d 1054, 1057 (9th Cir. 2001); AADC, 70 F.3d at
  1055; Johns v. Dep’t of Just., 653 F.2d 884, 889 (5th Cir.
  1981); Lopez–Telles v. INS, 564 F.2d 1302, 1304 (9th Cir. 1977)
  (“The immigration judge is not empowered to review the wisdom of
  the INS in instituting the proceedings. His powers are sharply
  limited[.]”).
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  For example, in McNary v. Haitian Refugee Center, Inc., 498 U.S.
  479 (1991), the respondents challenged certain INS amnesty
  procedures in a federal district court. See 498 U.S. at 487–88.
  But did they have to go through the immigration courts first?
  No, the Supreme Court held.
  The case was a “pattern and practice case,” because it
  challenged “[a] pattern of . . . unconstitutional practices.”
  Id. at 497 (cleaned up).
  Pattern-and-practice cases require a “substantial amount of
  evidence,” and an immigration judge adjudicating one particular
  case would not have been able to gather it. Id. This would
  leave the federal court of appeals in a bad spot; it “would be
  in [no] position to provide meaningful review of the type of
  claims raised.” Id.
  So the Supreme Court’s decision: no need for the case to go to
  the immigration courts --- keep it in the federal district
  court. See id. at 494.
  McNary is not directly on-point.
  But it speaks to the idea that when it comes to “meaningful”
  development of the factual record --- and the knock-on question
  of whether adjudication in the immigration courts is required --
  - federal courts do not need to turn a blind eye to a common-
  sense reality. 49
  And that is this: immigration courts are mainly built for close-
  to-the-ground fact-finding. Not for fleshing out the record as
  to potentially sweeping claims --- related to “pattern and
  practice” issues, McNary, 498 U.S. at 497, for example, or
  selective enforcement.
  And sweeping claims are plainly what the Petitioner is pressing
  here. 50


  49 See generally Tennessee v. Dep’t of Educ., 104 F.4th 577, 606
  (6th Cir. 2024) (suggesting that “practical realities” influence
  whether there is “meaningful review” under Thunder Basin).

  50 As briefly alluded to above, immigration courts are high-
  volume affairs. As of March 2025, there were around 3.9 million
  cases in the backlog. See Pending Cases, New Cases, and Total


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                                *     *     *
  As to the fact-finding difficulties here for the immigration
  courts, consider briefly a final added point.
  One of the Petitioner’s core arguments is that he is being
  retaliated against under a policy formulated by the most senior
  officials in the federal government. See Motion for Preliminary
  Injunction at 3; see also Petition ¶¶ 29–36.
  More on that allegation later, in Part VIII.
  For now, note that there is at least a potential argument under
  the Supreme Court’s decision in Lozman v. Riviera Beach, 585
  U.S. 87, 100–01 (2018), that the existence of such a policy
  could undo the argument the Respondents have made here ---
  namely, the argument that probable cause is a full defense to an
  arrest made in retaliation for First Amendment activity. See
  Opposition Brief at 28.
  This means that the salience of the Nieves question (was there
  probable cause such that First Amendment retaliation may not
  matter?) could potentially turn under Lozman on the answer to an
  earlier and broader question (was there an official policy of
  retaliation?).


  Completions, Exec. Off. for Immigr. Rev., https://perma.cc/L659-
  S8P5 (accessed on Apr. 29, 2025). Roughly 360,000 of those
  cases were added in 2025. See id. This has an everyday impact.
  Per a 2022 congressional report, some immigration judges
  reported having nearly 5,000 pending cases; others reported they
  heard 80 cases each day. Holly Straut-Eppsteiner, Cong. Rsch.
  Serv., R47077, U.S. Immigration Courts & the Pending Cases
  Backlog 22 (2022); cf. Malets v. Garland, 66 F.4th 49, 59 (2nd
  Cir. 2023) (“We have repeatedly recognized the extraordinary
  caseload burdens faced by IJs.”); Abulashvili v. Att’y Gen. of
  U.S., 663 F.3d 197, 208 (3d Cir. 2011) (“We readily acknowledge
  that an IJ’s position is an impossibly demanding and challenging
  one.”). The typical fact-finding in these cases does not appear
  extensive. When a person is detained, the first hearing seems
  to typically be the only one. See Ingrid Eagly & Steven Shafer,
  Detained Immigration Courts, 110 Va. L. Rev. 691, 756 (2024).
  (Part of why: while discovery tools exist, see 8 C.F.R.
  §§ 1003.10(b), 1003.35, they are rarely used in practice. See
  Geoffrey Heeran, Shattering the One-Way Mirror: Discovery in
  Immigration Court, 79 Brook. L. Rev. 1569, 1582–84 (2014).)


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  If fact-finding is one day required as to such a policy ---
  whether it exists, what its scope might be, whether it led to
  the Petitioner’s detention --- it cannot be done in a
  “meaningful” way by the immigration courts, for reasons that
  have already been discussed (and that were the focus of the
  Supreme Court’s “pattern and practice” decision in McNary).
  But that is only the tip of the iceberg.
  Deciding, for example, whether Lozman applies to a case like
  this one, involving only federal officials, may require some
  complex legal judgments about constitutional questions that have
  not yet been resolved in all federal circuits. See, e.g., Novak
  v. City of Parma, 932 F.3d 421, 429 (6th Cir. 2019) (suggesting
  that Lozman is only relevant as to claims against
  municipalities).
  And that question may need to be answered at the threshold of
  any fact-finding, to determine the scope of discovery.
  If Lozman applies, the Petitioner may try to prove up a policy -
  -- and to seek out evidence accordingly.
  And if Lozman does not apply, then maybe what matters is only
  proof as to probable cause and selective enforcement --- which
  may imply a different (though still potentially wide) scope for
  discovery.
                                *     *     *
  Bottom line: the immigration courts cannot be expected to supply
  sufficiently substantial fact-finding as to the allegations in
  this case.
  And the threshold questions that may determine the scope of any
  possible discovery seem to themselves require knowledge as to
  complex areas of constitutional law, areas that are removed from
  the legal issues the immigration courts typically consider. 51


  51 The “meaningful review” test is designed to get a handle on
  what Congress’ intent for a certain “type” of case might have
  been. See Thunder Basin, 510 U.S. at 212. In terms of how
  factual development might go forward --- would Congress have
  wanted a case like this one to be handled by the immigration
  courts? The first proposed subpoena here was to a cabinet
  official, and the allegations in this case quote statements made


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        C.   Expertise

  The focus to this point has been on what the immigration courts
  could accomplish in this case.
  Could they grant the Petitioner the legal relief he seeks?
  Could they substantially develop the factual record?
  The Court’s answer has been no to each question.           See Part VI.A
  and Part VI.B.
  The implications of this are taken up in Part VI.D, which
  considers whether the Petitioner could get the required
  “meaningful review” of his claim if it first goes to the
  immigration courts.
  Before getting there, though, take a quick detour --- to see the
  impact here of a decision of the Board of Immigration Appeals.
                                *     *     *
  “Meaningful review” is the most important of the Thunder Basin
  factors. See Part V.B.2.
  But there are two others.


  about the Petitioner by the President. See Petition ¶¶ 73, 74.
  It is unclear at this point whether discovery might be needed
  here. See footnote 47. But if it is, note that the federal
  courts have evolved any number of potentially relevant doctrines
  in this area. See, e.g., United States v. Morgan, 313 U.S. 409,
  422 (1941) (as to an agency action, a cabinet secretary “should
  never have been subjected to” a deposition); In re U.S. Dep’t of
  Educ., 25 F.4th 692, 700 & n.1 (9th Cir. 2022) (suggesting that
  “[t]he rules for when a court may allow the questioning of a
  cabinet secretary” “rest on a constitutional foundation”)
  (cleaned up); see also In re United States, 985 F.2d 510, 512
  (11th Cir. 1993); Simplex Time Recorder Co. v. Sec’y of Lab.,
  766 F.2d 575, 586 (D.C. Cir. 1985); Kyle Eng’g Co. v. Kleppe,
  600 F.2d 226, 231 (9th Cir. 1979). These aim to strike a fine
  balance between the legitimate needs of parties seeking evidence
  and the legitimate needs of senior federal officials --- whose
  time is pressed and whose work files are likely to be especially
  sensitive, such that they will require special judicial
  protection as to any discovery. It seems unlikely that Congress
  would have thought that a case of this “type,” raising these
  sorts of evidentiary issues, should go before the immigration
  courts, which lack experience with them.
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                                *     *     *
  The first is whether the claims in question are “wholly
  collateral to the statute’s review provisions.” Axon, 598 U.S.
  at 186 (cleaned up).
  The claim as to the Secretary’s determination is not collateral.
  It is “the vehicle by which [the Petitioner] seek[s] to”
  challenge his removal proceedings, Elgin, 567 U.S. at 22 --- and
  per the statutory “review provisions,” those are the
  “challenge[s]” that are generally supposed to go before the
  immigration courts.
                                *     *     *
  The second Thunder Basin factor relates to whether the agency’s
  expertise can be brought to bear if a certain claim goes to it
  first. See Axon, 598 U.S. at 194; Elgin, 567 U.S. at 22; Free
  Enter. Fund, 561 U.S. at 491.
  If agency expertise can be brought to bear, that is a reason to
  think Congress wanted claims of the relevant “type” to go to the
  agency’s courts (here, the immigration courts).
  But in this case, “agency expertise” would have virtually no
  role to play as to any immigration court assessment of the
  Secretary of State’s determination.
  This Part VI.C explains why.
                                *     *     *
  Agency adjudicatory bodies are experts in the laws they
  routinely use, plus nearby bodies of law.
  SEC adjudicators, for example, can be expected to be fluent in
  the Securities Act of 1933 and the Securities Exchange Act of
  1934. And they are almost surely experts on related subjects,
  too. Common-law fraud, for example.
  Immigration courts plainly have deep expertise in immigration
  law.
  But the Petitioner claims that the Secretary of State’s
  determination is the product of First Amendment retaliation.
  See Petition ¶¶ 8, 89; Motion for Preliminary Injunction at 10-
  18.
  And First Amendment issues have little or no place on an
  immigration judge’s docket. See Part VI.A. It follows that

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  there is no reason to think immigration courts have special
  expertise in First Amendment law. See Axon, 598 U.S. at 194
  (describing constitutional claims as outside the administrative
  agency’s area of expertise); Free Enter. Fund, 561 U.S. at 491
  (similar).
  But agency expertise can still potentially be brought to bear.
  Indeed, the Thunder Basin “agency expertise” factor can weigh in
  favor of upfront adjudication in the agency’s courts --- even
  when the legal theory that undergirds the claim is not one as to
  which an agency adjudicator has any expertise. See Elgin, 567
  U.S. at 22-23; Rydie v. Biden, 2022 WL 1153249, at *8 (4th Cir.
  Apr. 19, 2022).
  But while that is true in general, in this particular case the
  “agency expertise” factor does not point to the immigration
  courts.
                                *     *     *
  To see why, start with the idea that an agency adjudicator’s
  decision, informed by special expertise, can helpfully move the
  case along by eliminating the need for later federal court
  intervention.
  Take as an example Elgin v. Department of Treasury, 567 U.S. 1
  (2012).
  There, federal employees were fired because they did not
  register for the draft, and they sued. See id. at 6–7. Their
  argument: their termination for failure to register was
  unconstitutional because, among other things, the draft
  discriminated against men based on sex. See id. at 7.
  Analyzing the Thunder Basin factors, the Supreme Court ruled
  that the case needed to first be adjudicated by the relevant
  agency, the Merit Systems Protection Board. 52 See id. at 8.



  52 “The Merit Systems Protection Board . . . is a[n] . . .
  agency in the executive branch charged with protecting federal
  employees against improper employment-related actions,”
  including “favoritism, or engaging in reprisals against
  whistleblowers.” Jon O. Shimabukuro & Jennifer A. Staman, Cong.
  Rsch. Serv., R45630, Merit Systems Protection Board (MSPB): A
  Legal Overview (2019) (summary page).

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  The Board did not have expertise on the underlying
  constitutional issue. See id. at 22. But the Court noted that
  the Board might be able to wrap up the case by applying its
  expertise to “threshold” issues, without the need for a court to
  later take up the constitutional question. See id.
  For example, one of the fired employees had not been formally
  fired --- instead, he argued that he had been “constructive[ly]
  discharge[d].” 53 Id. at 23.
  If this employee was not in fact constructively discharged, the
  constitutional challenge to his firing would no longer exist ---
  because it could no longer be said that he was fired. See id.
  And that, per the Supreme Court, was a reason to let the case
  run down the agency-adjudication track. See id. After all, the
  question of whether a person is or is not constructively
  discharged is “unique to the employment context” and therefore
  “falls squarely within the [Board’s] expertise.” Id. at 22-23. 54
                                *     *     *
  With this background in mind, turn back now to this case.
  Are there “threshold” issues here, id. at 22, that the
  immigration courts could resolve, and that might put an end to
  the Petitioner’s First Amendment challenge?
  Yes, it would seem.
  After all, the Secretary of State determined that there were
  “reasonable ground[s] to believe [the Petitioner’s presence or

  53 Constructive discharge refers to “[a]n employer’s creation of
  working conditions that leave a particular employee or group of
  employees little or no choice but to resign.” Discharge,
  sense 7, Black’s Law Dictionary (12th ed. 2024) (defining
  “constructive discharge”).
  54 For other cases making this same point, see, for example,
  Bank of La. v. FDIC, 919 F.3d 916, 929 (5th Cir. 2019) (“[T]he
  [agency] could have mooted the [plaintiff’s] constitutional
  claims by finding the [plaintiff] innocent of the statutory
  violations it was accused of committing.”), and Jarkesy v. SEC,
  803 F.3d 9, 29 (D.C. Cir. 2015) (“[T]he agency could moot the
  need to resolve [the constitutional question] by finding that he
  did not commit the securities-law violations of which [the
  plaintiff] stands accused.”).

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  activities in the United States] would have potentially serious
  adverse foreign policy consequences for the United States.” 8
  U.S.C. § 1227(a)(4)(C)(i).
  Maybe the immigration courts could hold that there were in fact
  not “reasonable grounds” --- and if so, the Petitioner’s claim
  would be resolved on that basis, without the need for a federal
  court to decide whether the Secretary’s determination amounted
  to First Amendment retaliation.
  And indeed, after the Third Circuit sent Massieu’s case to the
  immigration courts, that is precisely what happened.
  The immigration judge looked behind the curtain of the Secretary
  of State’s “reasonable grounds” determination --- and said the
  evidence was not there. See In re Ruiz-Massieu, 22 I. & N. Dec.
  833, 835-36 (BIA 1999).
  But that was not the end of the road.
  The Board of Immigration Appeals took it from there, and held
  that what the immigration judge had done was not allowed. Per
  the Board, the Secretary’s determination under 8 U.S.C.
  § 1227(a)(4)(C)(i) is like a prior criminal conviction --- it
  must be treated as a given if it seems solid-enough on its face,
  with no possibility of getting under the hood and examining its
  underlying factual basis.
             In the scheme adopted by Congress, the
             Secretary of State’s determination as
             outlined in section 241(a)(4)(C)(i) [8
             U.S.C. § 1227(a)(4)(C)(i)] of the Act is
             equivalent to a duly certified record of
             criminal conviction by a state or federal
             court. . . .
             [The alternative] would necessarily require
             the Immigration Judge and this Board to
             intrude into the realm of foreign
             policy. . . .
             For an example, we need only look to the
             opinion in the present case. The
             Immigration Judge held that the [Immigration
             and Naturalization] Service must produce
             more than clear, unequivocal, and convincing
             evidence that the Secretary of State held a

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             facially reasonable opinion that the alien’s
             presence would have adverse foreign policy
             consequences. She required the Service to
             convince her by clear, unequivocal, and
             convincing evidence that the Secretary’s
             opinion is reasonable. The Immigration
             Judge found that the Service had not shown
             that the opinion of the Secretary of State
             is reasonable. Consequently, in the absence
             of further evidence, she substituted her
             judgment for that of the Secretary of State.
             This standard of inquiry would entangle the
             Immigration Court in matters of foreign
             policy and involve that court in weighing
             the importance of various factors in an area
             in which it has no special expertise. Such
             an in-depth examination could well require
             the Service to proffer secret or
             confidential information and expert
             witnesses, or involve a deposition of the
             Secretary of State. There is no indication
             that Congress contemplated an Immigration
             Judge, or even the Attorney General,
             overruling the Secretary of State on a
             question of foreign policy.
  Id. at 844-45. 55
  In short: “it is . . . the opinion of the Secretary [of State]
  that decides the issue,” id. at 845 n.13 --- and because of the
  above-quoted ruling from the Board of Immigration Appeals in
  Ruiz-Massieu, there would be next to nothing for an immigration
  court to do in this case. The reasonableness of the Secretary’s
  determination might have been a “threshold” matter for the




  55 Ruiz-Massieu is binding on immigration judges, see 8 C.F.R.
  § 1003.1(g)(1), and serves as precedent for future Board of
  Immigration Appeals proceedings regarding the same issue. See
  id. § 1003.1(g)(2); see also April 11 Audio Recording at 1:34:30
  to 1:36:00 (holding that Ruiz-Massieu bound the immigration
  court).

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  immigration courts. Elgin, 567 U.S. at 22.           But after the Ruiz-
  Massieu decision, no longer. 56
                                *     *     *
  Are there other reasons why agency expertise might matter?
  Yes. Take up here the main added possible reason, and then
  consider a second one below in footnote 57.
  An agency’s narrowing construction of a statute might
  potentially obviate the need for a federal court to later reach
  the relevant constitutional issues. See id. at 23 (a
  “challenged statute may be one that the [agency] regularly
  construes, and its statutory interpretation could alleviate
  constitutional concerns”); see also Jarkesy, 803 F.3d at 29
  (“[T]he [agency] could offer an interpretation of the securities
  laws in the course of the proceeding that might answer or shed
  light on [the plaintiff’s] [constitutional] challenge. As our
  court has previously observed, there are precious few cases
  involving interpretation of statutes authorizing agency action
  in which our review is not aided by the agency’s statutory
  construction.”) (cleaned up); Am. Fed’n of Gov. Emps., AFL-CIO
  v. Trump, 929 F.3d 748, 761 (D.C. Cir. 2019) (similar).
  Imagine, for example, if the immigration courts took first crack
  at this case --- and construed 8 U.S.C. § 1227(a)(4)(C)(i) as
  providing a basis for removal only if the Secretary of State’s


  56 There might sometimes be fact-finding work for the
  immigration courts to do in cases like this one. For example,
  there may be a dispute as to whether the Secretary personally
  made the relevant determination. That could take fact-finding,
  and the immigration courts could do it. Cf. In re Ruiz-Massieu,
  22 I. & N. Dec. at 845 n.13. And that possibility was part of
  why Judge Alito thought the Massieu case should be sent to the
  immigration courts. See Massieu, 91 F.3d at 426. But no one
  seems to be disputing the Secretary of State’s personal
  involvement here. Indeed, the Petitioner goes the other way ---
  and affirmatively alleges that there was a good deal of personal
  involvement from the Secretary in this case. See Petition ¶¶ 2-
  3, 33, 75, 80, 83. (Note that the Secretary does not always
  need to be personally involved in passing on a determination.
  Only when his determination is based on speech that would be
  First Amendment–protected. See 8 U.S.C. §§ 1227(a)(4)(C)(ii),
  1182(a)(3)(C)(iii). But the immigration courts have no special
  expertise on that First Amendment gating question.)
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  determination was not based on any sort of retaliation
  whatsoever.
  That could switch things up, transforming a constitutional
  question into an immigration law question. The constitutional
  question (was the Secretary’s determination the product of First
  Amendment retaliation?) would become one of immigration law (was
  the Secretary’s determination the product of “any sort of
  retaliation,” as defined by the immigration courts?).
  And if so, it might make sense to allow the immigration courts
  to assess the case first --- under what will, by hypothesis, be
  their own standard.
  But the Board of Immigration Appeals has already construed
  Section 1227(a)(4)(C)(i), and it has not opted to give it a
  limiting construction of any kind.
  And in any event, a limiting agency construction would carry
  less weight now that the Board of Immigration Appeals decisions
  no longer get strong deference. Compare Bautista v. Att’y Gen.
  of U.S., 744 F.3d 54, 58 (3d Cir. 2014), abrogated on other
  grounds by Torres v. Lynch, 578 U.S. 452 (2016) (Board of
  Immigration Appeals decisions get Chevron deference), and
  Rodriguez-Avalos v. Holder, 788 F.3d 444, 448-49 (5th Cir. 2015)
  (same), with Loper Bright Enters. v. Raimondo, 603 U.S. 369, 412
  (2024) (“Chevron is overruled.”).
                                *     *     *
  Bottom line: the immigration courts would be unable to apply
  their expertise here to resolve any substantial threshold matter
  --- and they would be unable to interpret the immigration laws
  in a way that would later receive strong deference from a
  federal court.
  In light of this, the Thunder Basin “agency expertise” factor
  tilts the scales toward the conclusion that Congress did not
  intend for immigration courts to handle this “type” of case in
  the first instance. 57


  57 Per the Supreme Court in Axon, the expertise factor
  “reflect[s] . . . the point of special review provisions --- to
  give the agency a heightened role in the matters it customarily
  handles, and can apply distinctive knowledge to.” 598 U.S. at
  186. But “the point” of the structure created by Congress for


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        D.   Conclusion

  As to the Secretary of State’s determination, the immigration
  courts cannot provide the Petitioner with the legal relief he
  seeks. See Part VI.A. They cannot be expected to knock out any
  fact-finding that might potentially be necessary. See Part
  VI.B. And they cannot bring their special expertise to bear in
  a substantial way. See Part VI.C.
  Does this mean that if this case starts off in the immigration
  courts, the Petitioner cannot get “meaningful review” --- and
  that, under Section 1252(b)(9), this Court should therefore
  retain jurisdiction? 58
  To answer, go back for a moment to the key cases.
                                *     *     *
  Recall that, in Elgin, employees were fired for not signing up
  for the draft. See 568 U.S. at 6–7. The Supreme Court held
  that the employees could not sue first in the federal district
  court. They would have to go down the administrative track, per
  a statute --- even though they could not get constitutional
  relief there. See id. at 13–14.
  Or look back to Massieu.
  The underlying statute, essentially the same one that is at
  issue here, was challenged as unconstitutional.




  immigration claims was not just to build up and lean on
  expertise --- but also to keep the tide of immigration cases
  from swamping the federal courts and displacing a good deal of
  their work on other cases. See Robbie Clarke, Reaffirming the
  Role of the Federal Courts, 17 Wash. & Lee J. Civ. Rts. & Soc.
  Just. 463, 474–75 & n.65 (2011). But any precedent that might
  be set by this case does not implicate such concerns. It is
  much too unusual for that. Because of the Board of Immigration
  Appeals’ Ruiz-Massieu decision, for example, there is virtually
  nothing for the immigration courts to do here. And the
  sensitive and sprawling nature of the discovery that might
  potentially be required makes this case an especially serious
  misfit for immigration courts fact-finding.

  58 Recall: the Court here is proceeding on the assumption that
  Section 1252(b)(9) applies in the first place. See Part IV.
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  But the immigration judge’s hands were tied. She was “not
  authorized to consider the constitutionality of the statute.” 91
  F.3d at 424.
  The result?   Same as in Elgin. The Third Circuit held that the
  noncitizen would have to go to the immigration courts and then
  over to the court of appeals, rather than seek immediate relief
  in the district court. See id. at 422.
                                *     *     *
  These precedents loom large. They suggest that going to the
  administrative courts is necessary --- even when they cannot be
  the litigation’s main event.
  But in the end, the Court’s conclusion is this: neither the
  Supreme Court’s Elgin decision nor the Third Circuit’s Massieu
  decision dictates the outcome here.
  Those cases are different than this one.
                                *     *     *
  The first difference has already been discussed.
  In Elgin and Massieu, the administrative courts could
  realistically be expected to push things forward.
  They could gather facts.     They could bring to bear their
  distinctive expertise.
  The cases would take longer to make it to federal court --- a
  first trip there, to the federal court of appeals, could go
  forward only after the administrative adjudication was done.
  But the time in Elgin and Massieu would have been well spent.
  The administrative courts’ work (fact-finding, using their
  expertise) would have set the table for the federal court of
  appeals to make its constitutional decision.
  But in this case, the time in the immigration courts cannot be
  expected to advance the ball.
  If there needs to be fact-finding here, it may potentially be
  sprawling, and it may potentially involve sensitive evidence, or
  (renewed) requests to depose senior officials. See Part VI.B.
  And the scope of discovery may depend not on questions of
  immigration law, but on questions of constitutional law, both
  procedural (for example: what are the limits on subpoenaing a

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  cabinet official?) and substantive (for example: is there a
  “policy” exception under Lozman to the Nieves First Amendment–
  retaliation framework?). See id.
  This is not the kind of fact-finding work the immigration courts
  have been built for. See id.
  And in this case, the immigration courts would also have no real
  chance to deploy their special expertise. The Board of
  Immigration Appeals has already held that the Secretary of
  State’s determination is conclusive. This binds the immigration
  courts. And it means that, for those courts at least, there is
  no room to examine the underlying basis of the Secretary’s
  determination. See Part VI.C.
  There is, in short, little that the immigration courts can be
  expected to accomplish in this case.
  The requirement of “meaningful review” under Thunder Basin,
  Elgin, and Massieu can accommodate a slower road to federal
  court. But those cases envision that along the way things will
  get done. Facts will be found, law will be interpreted,
  expertise will be used. See Thunder Basin, 510 U.S. at 214–15;
  Elgin, 567 U.S. at 22–23; Massieu, 91 F.3d at 426.
  The work in the administrative court may end the case. And if
  not, then the time will have been used. The journey (in the
  administrative courts) will shape the final destination (review
  in federal court).
  But Elgin and Massieu do not purport to speak to a case like
  this one. In those cases, the administrative court route meant
  that extra time would pass --- but for a purpose.
  Here, the situation would be different. Time would pass, yes,
  and perhaps a great deal. But there would be little to show for
  it.
                                *     *     *
  Take now a second way in which this case is different from Elgin
  or Massieu.
  Start with the basic distinguishing point, see Part VI.D.1, and
  then look to its implications from three related perspectives.
  See Part VI.D.2 to Part VI.D.4.




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             1.    Public Concern

  The Petitioner alleges that the Secretary of State’s
  determination amounts to retaliation for his First Amendment–
  protected statements.
  There was nothing like that in Elgin. The petitioners there
  were federal employees who had not registered for the draft.
  See 567 U.S. at 6–7.
  And there was nothing like that in Massieu, where the plaintiff
  was a former senior Mexican official whose presence had become a
  thorn in the side of U.S.-Mexico relations. See Massieu, 915 F.
  Supp. at 712 (quoting Letter from Warren Christopher, Sec’y of
  State, to Janet Reno, Att’y Gen.) (Oct. 2, 1995) (failure to
  return the plaintiff “to Mexico . . . would be a major setback
  for . . . our combined efforts to chart a new and effective
  course of U.S.–Mexican relations”). 59
  Before getting to why this difference matters, note briefly the
  Petitioner’s speech-related allegations.
  That he had spoken at press conferences and on TV. See Petition
  ¶ 26. That he had helped lead two university student groups, at
  least one of which puts on public lectures. See id. ¶ 23. And
  that the subject of all this was the current violence in the
  Middle East and the Petitioner’s views on it --- Israel has
  committed a “genocide,” the Petitioner has said, id. ¶ 22;
  Columbia University, where he was a student, is “financing and
  in other ways facilitating it,” he has said, id.; and the United
  States is on the wrong side of the line. See id. ¶ 29.


  59 The Massieu complaint alleged that “the deportation
  proceeding evidence[d] selective enforcement in retaliation for
  Mr. Ruiz Massieu’s exercise of his First Amendment right to
  criticize the Mexican political system.” Massieu, 915 F. Supp.
  at 689. But that was the first and last appearance of the First
  Amendment in Massieu. It was not invoked in the opinion of the
  district court, in the appellants’ or appellee’s briefs on
  appeal, or in the opinion of the court of appeals. See
  generally Massieu, 915 F. Supp. 681; Massieu, 91 F.3d 416;
  Appellants’ Brief, Massieu v. Reno, 91 F.3d 416 (3d Cir. 1996)
  (No. 96-5125), 1996 WL 33414627; Appellee’s Brief, Massieu v.
  Reno, 91 F.3d 416 (3d Cir. 1996) (No. 96-5125), 1996 WL
  33414626; Appellants’ Reply Brief, Massieu v. Reno, 91 F.3d 416
  (3d Cir. 1996) (No. 96-5125), 1996 WL 33414628.
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  Per the Supreme Court, speech on matters of public concern
  “occupies the highest rung of the hierarchy of First Amendment
  values, and is entitled to special protection.” Snyder v.
  Phelps, 562 U.S. 443, 452 (2011).
  Was the Petitioner’s alleged speech about a “public concern”?
  Speech “deals with matters of public concern when it can be
  fairly considered as relating to any matter of political . . .
  concern to the community.” Id.
  The Petitioner’s public statements about the Middle East
  conflict meet that test. See, e.g., id. at 454 (holding that
  protest signs as to United States military policy were
  “political” and “of public import”); see also Rankin v.
  McPherson, 483 U.S. 378, 386 (1987); Navab-Safavi v. Glassman,
  637 F.3d 311, 313, 316 (D.C. Cir. 2011); Dunn v. Carroll, 40
  F.3d 287, 291–92 (8th Cir. 1994).
  And speech can be a matter of public concern when it is “a
  subject of legitimate news interest,” Snyder, 562 U.S. at 452,
  including as to “all issues about which information is needed or
  appropriate to enable the members of society to cope with the
  exigencies of their period.” Time, Inc. v. Hill, 385 U.S. 374,
  388 (1967); accord, e.g., Lane v. Franks, 573 U.S. 228, 241
  (2014); Amalgamated Transit Union Loc. 85 v. Port Auth. of
  Allegheny Cnty., 39 F.4th 95, 103–04 (3d Cir. 2022); O’Laughlin
  v. Palm Beach Cnty., 30 F.4th 1045, 1051–52 (11th Cir. 2022).
  The Petitioner’s public statements meet that test, too
  In short: the Petitioner’s speech was on a subject of “public
  concern” --- and that sort of speech gets “special protection.”
  Snyder, 562 U.S. at 452.
                                *     *     *
  Moreover, the Petitioner alleges not only that he was detained
  by immigration officials because of his speech --- but also that
  this detention is having an effect now, in the present.
  A direct effect --- because detention prevents the Petitioner
  from speaking publicly. See Petition ¶¶ 89, 99. 60

  60 See generally Falcone v. Dickstein, 92 F.4th 193, 210 (3d
  Cir. 2024) (“There is no dispute that an arrest constitutes
  conduct sufficient to deter a person of ordinary firmness from


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  And an indirect effect --- because detention deters the
  Petitioner (and others) from speaking. See id. ¶ 89. 61
  This sort of here-and-now impact on speech weighs heavily.
  That is because “[t]he loss of First Amendment freedoms, for
  even minimal periods of time, unquestionably constitutes
  irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976)
  (plurality opinion); see Ne. Pa. Freethought Soc’y v. Cnty. of
  Lackawanna Transit Sys., 938 F.3d 424, 442 (3d Cir. 2019); B.H.
  ex rel. Hawk v. Easton Area Sch. Dist., 725 F.3d 293, 323 (3d
  Cir. 2013); see also 11A Charles Alan Wright & Arthur R. Miller,
  Federal Practice and Procedure § 2948.1 (3d ed. 2025); cf.
  Tandon v. Newsom, 593 U.S. 61, 64 (2021); Roman Cath. Diocese of
  Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020); Dombrowski v.
  Pfister, 380 U.S. 479, 485–86 (1965); Tenafly Eruv Ass’n, Inc.
  v. Borough of Tenafly, 309 F.3d 144, 178 (3d Cir. 2002).
  And this is because “[t]he timeliness of political speech” ---
  the type of speech at issue here --- “is particularly
  important.” Elrod, 427 U.S. at 374 n.29 (citing Carroll v.
  President & Comm’rs of Princess Anne, 393 U.S. 175, 182 (1968);
  Wood v. Georgia, 370 U.S. 375, 391 (1962)).
  Our law’s response to a here-and-now impact on political speech
  has been the same across the board: no unnecessary delay.
  Deal thoughtfully and thoroughly with the speech issue.             But
  deal with it on a faster-than-usual timeline.
  Begin seeing this below, and its import for this case.




  exercising her constitutional rights.”) (cleaned up), cert.
  denied sub nom. Murray-Nolan v. Rubin, 144 S. Ct. 2560 (2024);
  cf. Speech First, Inc. v. Whitten, 145 S. Ct. 701, 703 (2025)
  (Thomas, J., dissenting from the denial of certiorari)
  (discussing various things that “may cause students to self-
  censor”) (cleaned up).

  61 Since the 1960s, the law has called this sort of First
  Amendment deterrence a “chilling effect.” See Dombrowski v.
  Pfister, 380 U.S. 479, 487 (1965); see also, e.g., Counterman v.
  Colorado, 600 U.S. 66, 75 (2023) (describing that certain rules
  may “chill, or deter, speech outside their boundaries”).
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             2.    First Amendment Speed

  Move here through four separate legal contexts, each distinct
  from the next, in which the unifying thread was only this: here-
  and-now speech impacts cannot be left out there, waiting too
  long for judicial review.

                   a)   Administrative Proceedings

  Look first to Oestereich v. Selective Service System Local Board
  No. 11, Cheyenne, 393 U.S. 233 (1968).
  There, a student protested against the Vietnam War. See id. at
  234. Soon afterwards, the draft board withdrew an exception he
  was entitled to and called him up for induction into the
  military. See id. at 234–35.
  The student sued to stop his enlistment; the district court
  dismissed his complaint, and the court of appeals affirmed. See
  id. at 235. The reason: judicial review would be available, if
  only later on. See Oestereich v. Selective Serv. Sys. Loc. Bd.
  No. 11, Cheyenne, 390 F.2d 100, 100 (10th Cir.).
  The Supreme Court reversed.      See Oestereich, 393 U.S. at 239.
  A statute barred judicial review of the draftee’s classification
  before he was inducted. That was “unambiguous,” the Supreme
  Court said. Id. at 235.
  And there was no doubt that judicial review would someday be
  available, as the court of appeals had said --- either as “a
  defense in a criminal prosecution” brought against the student
  for not registering, or on a “habeas corpus [petition] after
  induction.” Id.
  But the Supreme Court held that a literal reading of the law
  might be “out of harmony . . . with constitutional
  requirements.” Id. at 238. The draft board’s actions, the
  Court explained, were no different in this sense “from a case
  where induction of a[] . . . clearly exempt person is ordered .
  . . to retaliate against the person because of his political
  views.” Id. at 237.
  And given this concern about “retaliat[ion]” for “political
  views,” the Supreme Court did not make the student wait for his
  day in court, either as a habeas petitioner after his enlistment
  or as a criminal defendant after his refusal to enlist. See id.


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  at 238.   Rather, per the Court, he could go to court right away.
  See id.

                   b)   State Prosecutions

  The next example starts with this: a long-standing statute that
  tells federal courts that they cannot generally enjoin a state
  court proceeding. See 28 U.S.C. § 2283.
  But sometimes, very rarely, to ward off a First Amendment chill
  --- they can.
  In Dombrowski v. Pfister, 380 U.S. 479 (1965), civil rights
  activists faced criminal prosecution. See id. at 482. State
  prosecutors accused them of belonging to a Communist front ---
  allegations that allegedly “frightened off potential members and
  contributors.” Id. at 488.
  In federal district court, the activists sought an injunction
  against the officials. See id. at 482. The court dismissed
  their complaint, see id., but the Supreme Court reversed. See
  id. at 483.
  There was good reason not to intervene in the prosecution.
  Federalism concerns, always important, were top of mind. See
  id. at 484. So too were less-intrusive ways of resolving the
  case. State courts and prosecutors, after all, are sworn to
  honor the Constitution, just as federal officials are, see id.,
  and any miscarriage of justice could be promptly appealed,
  perhaps up to the Supreme Court. See id. at 485. In the
  meantime, a state court might moot the matter by acquitting the
  defendants. See id.
  But all of that would come too late, the Supreme Court said.              By
  then, the First Amendment harm would have been done.
  “The chilling effect upon the exercise of First Amendment rights
  may derive from the fact of the prosecution, unaffected by the
  prospects of its success or failure.” Id. at 487. “Even the
  prospect of ultimate failure of such prosecutions by no means
  dispels their chilling effect on protected expression.” Id. at
  494. The Supreme Court ordered the district court to enjoin
  prosecution. See id. at 497.
  To be sure, Dombrowski has been whittled a long way back.
  Under Younger v. Harris, 401 U.S. 37 (1971), Dombrowski no
  longer means that a chilling effect can “by itself justify

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  federal intervention.” Id. at 50. Nonetheless, Younger
  reiterated that intervention may be proper when there is bad
  faith or harassment on the part of a state. 62 See id. at 53.
  And even without that, “[t]here may, of course, be extraordinary
  circumstances in which the necessary irreparable injury can be
  shown.” Id.
  But Dombrowski and Younger remain relevant.
  In those cases, as in Oestereich, the need in the First
  Amendment context for speed was a powerful counterweight ---
  heavy enough, at least sometimes, to overcome important
  countervailing concerns, including the need for federal courts
  to wait, out of respect for the judgment of state officials and
  judges (in Dombrowski); of federal draft boards (in Oestereich);
  and, in both cases, the judgment of Congress, which had passed
  on-point statutes that told the courts to hold back.

                   c)   The Supreme Court

  Turn now to the Supreme Court, and one of the statutes passed by
  Congress that shapes its jurisdiction, 28 U.S.C. § 1257.
  Section 1257 allows the Supreme Court to hear “[f]inal judgments
  . . . rendered by the highest court of a State.” Id. (emphasis
  added).
  But when a First Amendment “chill” may be in the air, the
  Supreme Court has read Section 1257 as allowing review of a non-
  final judgment. See, e.g., Fort Wayne Books, Inc. v. Indiana,
  489 U.S. 46, 55–57 (1989); Nat’l Socialist Party of Am. v. Vill.
  of Skokie, 432 U.S. 43, 44 (1977); Neb. Press Ass’n v. Stuart,
  423 U.S. 1327, 1329 (1975) (Blackmun, J., in chambers); Mia.
  Herald Pub. Co. v. Tornillo, 418 U.S. 241, 246–47 & n.6 (1974);
  Mills v. Alabama, 384 U.S. 214, 221–22 (1966) (Douglas, J.,
  concurring).
  For an example, look to Fort Wayne Books.
  There, two bookshops sold graphic magazines. See State v.
  Sappenfield, 505 N.E.2d 504, 504 (Ind. Ct. App. 1987), aff’d and

  62 The Dombrowski Court did not define “bad faith” but suggested
  it includes “discriminatory enforcement or the use of
  impermissible criteria for prosecution, such as a defendant’s
  . . . political beliefs.” Owen M. Fiss, Dombrowski, 86 Yale
  L.J. 1103, 1115 (1977) (citing Dombrowski, 380 U.S. at 490).
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  remanded sub nom. Fort Wayne Books, Inc. v. Indiana, 489 U.S. 46
  (1989). State prosecutors charged the shops’ owner with
  distributing obscene material. And that provided a basis for
  state-law RICO charges. See Fort Wayne Books, Inc., 489 U.S. at
  53.
  The trial court threw out the racketeering counts for being
  unconstitutionally vague. See id. The Indiana Court of Appeals
  reversed --- and the Indiana Supreme Court decided not to take
  up the case. See id.
  The federal Supreme Court granted certiorari and then paused to
  take stock of its jurisdiction. See id. at 54.
  The jurisdictional question was a hard one. In criminal law,
  the rule of finality generally requires a conviction and a
  sentence before an appeal can be taken. See id. But neither
  box was checked. See id. Normally, then: no Supreme Court
  jurisdiction under the statute. See id.
  But the Supreme Court determined that the First Amendment
  required “immediate review,” meriting an exception to the
  general rule. See id. at 55.
  A too-long wait, the Court explained, could chill speech.
  “Whichever way we were to decide on the merits, it would be
  intolerable to leave unanswered, under these circumstances, an
  important question of freedom of the press under the First
  Amendment.” Id. at 56. Leaving the question unsettled “could
  only further harm the operation of a free press.” Id.

                   d)   Prior Restraints

  One more example.
  A prior restraint is government censorship that cuts off speech
  before it makes it to the public. It is a restraint (of speech)
  that is prior (to publication).
  Prior restraints are “immediate and irreversible,” Neb. Press
  Ass’n v. Stuart, 427 U.S. 539, 559 (1976), and presumptively
  unconstitutional. See Se. Promotions, Ltd. v. Conrad, 420 U.S.
  546, 558 (1975).
  Nonetheless, the First Amendment allows for some prior
  restraints --- but only when judicial review is almost
  immediately available. See Vance v. Universal Amusement Co.,
  445 U.S. 308, 309 (1980); Se. Promotions, Ltd., 420 U.S. at 560;

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  Freedman v. Maryland, 380 U.S. 51, 58–59 (1965); Bantam Books,
  Inc. v. Sullivan, 372 U.S. 58, 70 (1963).
  Why?   To quickly dissipate any freedom-of-speech chill.
  Take as the example the Freedman case.
  A few years before, the Court had decided that the First
  Amendment allowed some prior restraints on movies. See
  Freedman, 380 U.S. at 54 (citing Times Film Corp. v. City of
  Chi., 365 U.S. 43 (1961)).
  Now, in Freedman, the Court considered the constitutionality of
  a Maryland law that prohibited screening a disapproved movie
  “unless and until,” in the Court’s words, “the exhibitor
  undertakes a time-consuming appeal to the Maryland courts and
  succeeds in having the Board’s decision reversed.” Id. at 54–
  55.
  That did not clear the bar.
  The Court held that a movie-censorship scheme could survive
  constitutional scrutiny only under various conditions. One:
  fast recourse to a court. See id. at 58–59.
  But the Maryland law “provide[d] no assurance of prompt judicial
  determination,” id. at 60, and the only reported appeal of a
  movie-censorship decision at that point showed that it took six
  months --- longer than the two days the Court suggested was
  appropriate in another state’s scheme. See id. at 55, 60. Fear
  of a “chilling effect” drove the Court’s thinking. See id. at
  59–61. And the Maryland statute was struck down as
  unconstitutional.

                   e)   Implications

  These cases are, intentionally, pulled from all over the map.
  They show something that suffuses our law, in many of its
  different corners --- that when it comes to here-and-now First
  Amendment injuries, the law requires a faster pace.
  And note this: in many ways, the questions taken up by the
  Supreme Court in the cases set out above were harder than the
  issue before the Court today.
  To accommodate the First Amendment’s need for faster-than-usual
  judicial review, must a state law be struck down as


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  unconstitutional, as in the case of the Maryland licensing
  scheme?
  Must an exception be carved into a federal law, like the
  “unambiguous” statute that determined when a federal court could
  take the draft-registration case? Or the Supreme Court’s
  jurisdictional statute? Or the statute that tells federal
  courts not to enjoin state court proceedings?
  These are big lifts.
  Declaring a statute unconstitutional is always a fateful act,
  the very last resort. See, e.g., Mistretta v. United States,
  488 U.S. 361, 384 (1989). And statutes are generally to be read
  as they were written, not with judge-made exceptions bored into
  them.
  But as in the cases sketched out above, the Supreme Court time
  and again has done those very things, to accommodate the First
  Amendment’s need for a quicker pace.
  For the questions addressed in this Opinion, much less is at
  stake.
  No one says here that too much delay means that a statute must
  be struck down as violating the First Amendment. And no one
  says that a law on the books must be re-read, so as to match up
  with constitutional values.
  Rather, delay matters here only as a reason to do something much
  less intrusive than all that --- as a way of understanding how
  to apply the law that we already have.
  That law requires consideration of whether later federal court
  review would still be “meaningful” enough. See Part V.
  Here, it would not be.
  Come back again to what the Supreme Court has said: “[t]he loss
  of First Amendment freedoms, for even minimal periods of time,
  unquestionably constitutes irreparable injury.” Elrod, 427 U.S.
  at 373. And: “[t]he timeliness of political speech” --- which
  is in play here --- “is particularly important.” Id. at 374
  n.29.
  For judicial review to be “meaningful,” it must hew to these
  principles.



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  But judicial review that tells the Petitioner to wait until the
  immigration courts are done does not do that.
  Not because First Amendment concerns always compel this result.
  But because they do here, in this case.
  One core reason why: for reasons that are particular to this
  case, see Part VI.A to Part VI.C, the time spent in the
  immigration courts would accomplish next to nothing.
  The Petitioner would not be able to seek the legal relief he
  asks for. See Part VI.A. The factual record could not be
  substantially developed. See Part VI.B. The immigration
  courts’ special expertise could not be brought to bear. See
  Part VI.C. 63
  Delay to ensure thoughtful consideration of hard issues is
  permissible. Necessary, even. 64




  63 A caveat. There is some relief that may be available to the
  Petitioner --- applying for asylum, for example, or the
  withholding of removal. If an immigration judge grants any of
  this relief, that could be “potentially dispositive,” as Massieu
  suggested. 91 F.3d at 425. It is unclear how any such requests
  for relief might play out, or whether they would become
  unavailable if this Court retains jurisdiction. But one way or
  another, the possibility of asylum or withholding moves the
  needle, but not far enough to alter the conclusion here.
  64 See N.Y. Times Co. v. United States, 403 U.S. 713, 753 (1971)
  (Harlan, J., dissenting) (arguing that “difficult” First
  Amendment questions “should have led the Court to shun such a
  precipitate timetable”); id. at 752 (Burger, C.J., dissenting)
  (“We all crave speedier judicial processes but when judges are
  pressured as in these cases the result is a parody of the
  judicial function.”); Tunick v. Safir, 209 F.3d 67, 88 (2d Cir.
  2000) (certifying case to state court while acknowledging that
  “in many First Amendment cases . . . the constitutional rights
  involved are significantly damaged, if not altogether lost, by
  the delay entailed in certification”); cf. United States v.
  Coburn, 2025 WL 729969 (D.N.J. Mar. 6, 2025).

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  But not delay that may be long. That will serve little real
  practical purpose. And that we can see, now, will come and go
  with little to show for the wait. 65

             3.    AADC

  To see the “meaningful review” issue here from another angle,
  look to a case, AADC, that bubbled up through the federal courts
  during the 1980s and 1990s.


  65 It is hard to say how long the immigration courts would take.
  See footnote 50. And averages would almost surely fail to tell
  the story, in part because courts tend to prioritize important
  constitutional cases. See, e.g., Care One, LLC v. NLRB, 680 F.
  Supp. 3d 540, 549 (D.N.J. 2023). But this much is clear: if
  this case does not go to the immigration courts, federal court
  review will continue now. If it goes to the immigration courts
  first, the process has more steps to it --- immigration judge,
  then Board of Immigration Appeals, and only then a federal
  court, a court of appeals. And in the end, the immigration
  courts route may be longer than that. The Respondents have
  suggested that one way to do any needed fact-finding here might
  be for the federal court of appeals, when it gets the case, to
  remand it to a federal district court --- which would then
  presumably send it back up to the court of appeals for a
  decision. See Respondents’ Letter (Apr. 10, 2025) (ECF 185) at
  3. It is not clear why the Respondents mention this
  possibility. Maybe because of a felt sense that, if this case
  requires fact-finding, the immigration courts may not be the
  right forum. See Part VI.B. But one way or another, a fact-
  finding remand only folds in another round of back and forth ---
  and therefore an extra dollop of delay. (And note another
  potential issue. When the factual record is not well developed
  coming out of the immigration courts, federal courts of appeals
  sometimes bounce the case back down for fact-finding by an
  immigration court or a federal district court. But the Supreme
  Court has suggested this may not be allowed in cases like this
  one --- and the problem may be jurisdictional. See AADC, 525
  U.S. at 488 n.10. This might imply a serious, down-the-road
  issue with going the immigration courts route --- a lack of
  solid factual development by the time the case hits the federal
  court of appeals (because the immigration courts are not built
  for fact-finding in a case like this) but with no ready way to
  fix the problem (because a remand may encounter a non-waivable
  legal hurdle).)

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  Federal officials sought to deport eight noncitizens, at first
  on grounds related to their speech. See AADC, 525 U.S. at 473.
  But the speech-related charges were dropped. See id. And what
  was left behind included removal charges based on two of the
  noncitizens’ membership in an alleged terror organization, plus
  six of the noncitizens’ status violations, for issues like
  overstaying a visa and failing to maintain student status. See
  id. at 473. (There was evidence that all eight noncitizens were
  involved in helping to finance the terror group. See id. at
  475.)
  As here, various statutes seemed to require going to the
  immigration courts before a federal court could get involved.
  But the noncitizens argued to the Supreme Court that federal
  court review “would come too late to prevent the ‘chilling
  effect’ upon . . . First Amendment rights” --- and so the
  statutes that funneled cases to the immigration courts should be
  read in light of the “doctrine of constitutional doubt,” 66 and
  “interpret[ed] . . . in such fashion as to permit immediate
  review of the[] [First Amendment] claims.” Id. at 488.
  But the Supreme Court, per Justice Scalia, rejected this
  argument.
  How? By breaking new ground and resolving a consequential legal
  question --- holding that the eight noncitizens had no
  underlying First Amendment selective-enforcement claim because
  they had no legal status in the United States. See id. at 489. 67
  With that holding made, the doctrine of constitutional doubt
  could no longer impact how jurisdiction-channeling statutes
  might be interpreted --- because there was no longer any
  possibility of a constitutional violation.
  Why did the Court choose to resolve the First Amendment
  selective-enforcement claim?




  66 This doctrine “counsel[s] that ambiguous statutory language
  be construed to avoid serious constitutional doubts.” FCC v.
  Fox Television Stations, Inc., 556 U.S. 502, 516 (2009).
  67 The selective-enforcement question was so new that no on-
  point precedents existed to guide the Court.

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  The answer is not crystal clear. But it seems likely to have
  been this: because the Court viewed the alternative on the table
  as presenting an even closer question of constitutional law.
  And that brings things back to this case.
  The alternative before the AADC Court was to hold that a federal
  court could not hear the noncitizens’ here-and-now First
  Amendment claim until the immigration courts got first crack.
  Justice Ginsburg argued for this position in her concurrence,
  see id. at 492 (Ginsburg, J., concurring), based on a narrowed-
  down reading of some of the cases discussed above in Part VI.D -
  -- narrowed readings that evidently did not convince the Court.
  Per the majority:
             Instead of resolving this constitutional
             question [about First Amendment selective
             enforcement], Justice Ginsburg chooses to
             resolve the constitutional question whether
             Congress can exclude the courts from
             remedying an alleged First Amendment
             violation with immediate effects, pending
             the completion of administrative
             proceedings. It is not clear to us that
             this is easier to answer than the question
             we address --- as is evident from the fact
             that in resolving it Justice Ginsburg relies
             almost exclusively on cases dealing with the
             quite different question of federal-court
             intervention in state proceedings. (Even in
             that area, most of the cases she cites where
             we did not intervene involved no claim of
             present injury from the state action --- and
             none involved what we have here: an
             admission by the Government that the alleged
             First Amendment activity was the basis for
             selecting the individuals for adverse
             action. Cf. Dombrowski v. Pfister, 380 U.S.
             479, 487–488, n. 4 (1965).) The one case
             not involving federal-state relations in
             fact overrode a congressional requirement
             for completion of administrative proceedings
             --- even though, unlike here, no immediate
             harm was apparent. See Oestereich v.
             Selective Serv. System Local Bd. No. 11, 393

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             U.S. 233 (1968). Justice Ginsburg counts the
             case as one for her side on the basis of
             nothing more substantial than the Court’s
             characterization of the agency action at
             issue as “blatantly lawless,” id., at 238.
             See post, at 948 (opinion concurring in part
             and concurring in judgment).
             Nor is it clear that the constitutional
             question Justice Ginsburg addresses has
             narrower application and effect than the one
             we resolve. Our holding generally deprives
             deportable aliens of the defense of
             selective prosecution. Hers allows all
             citizens and resident aliens to be deprived
             of constitutional rights (at least where the
             deprivation is not “blatantly lawless”)
             pending the completion of agency
             proceedings.
  Id. at 488 n.10 (cleaned up).
  Justice Scalia’s majority opinion, as quoted at length above,
  plainly rested on the idea that there was a real possibility
  that it is unconstitutional to divert people with here-and-now
  First Amendment claims into the immigration courts, at the cost
  of pushing off into the future their day in federal court.
  And the question seemed vexed enough that the Supreme Court,
  rather than wade in, worked to skirt the issue, by resolving
  another novel constitutional claim --- whether noncitizens
  without lawful status can press a First Amendment selective-
  enforcement claim.
  If, per the Supreme Court, delayed consideration in federal
  court of a First Amendment claim might be unconstitutional ---
  then that is a strong argument for taking what is a much smaller
  step, for opting not to delay federal court consideration of a
  First Amendment claim in the first place.
  And all the more so in this case.
  Not just because of how little can realistically be accomplished
  here in the immigration courts. See Part VI.A to Part IV.C.
  But also because of how this case lines up against AADC.



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  In AADC, there were allegations of membership in a terror group
  and evidence of financial support to it. See 525 U.S. at 474–
  75. Here, no such information has been put before the Court.
  And in AADC, the noncitizens did not have lawful status. See
  id. at 488, 491–92. Here, the Petitioner does, see Petition
  ¶¶ 1, 9, 21 --- and that could make a meaningful First Amendment
  difference, as the Court held in AADC. See 525 U.S. at 488,
  491–92.
  In short: if delayed federal court uptake of a First Amendment
  claim raised a serious constitutional issue in AADC, is that not
  a powerful reason to steer away from such delay here?

             4.     Axon

  Finally, look to the Supreme Court’s recent decision in Axon
  Enterprise, Inc. v. Federal Trade Commission, 598 U.S. 175
  (2023).
  Axon was a case like this one. It involved a set of statutes
  that seemed to require that the case be sent to the
  administrative courts, before any federal court involvement.
  See id. at 181.
  To decide where the case should start off, the Supreme Court
  asked “whether preclusion of district court jurisdiction ‘could
  foreclose all meaningful judicial review.’” Id. at 190 (quoting
  Thunder Basin, 510 U.S. at 212–13).
  The Axon Court’s answer: it depends.
  Typically, a party can get meaningful judicial review even if a
  district court never becomes involved in the case. Review of
  agency action by a court of appeals, following an administrative
  proceeding --- that is generally enough. See id. at 190.
  But not always.
  Not, per the Supreme Court, when there is a “here-and-now”
  injury --- one that will be “impossible to remedy once the
  proceeding is over, which is when appellate review kicks in.”
  Id. at 191.
  In Axon, the plaintiffs argued that they were “being subjected
  to unconstitutional agency authority --- a proceeding by an
  unaccountable [FTC] ALJ.” Id. (cleaned up). That was a here-
  and-now constitutional injury, the Supreme Court held. See id.

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  A court of appeals could later vacate any FTC order that might
  issue, but it could never unwind the clock and undo the harm of
  being subjected to the FTC proceeding in the first place.
  “Judicial review . . . would come too late to be meaningful.”
  Id.
  But is that not also true of having speech allegedly frozen
  (through detention) and chilled (because of the fear that
  detention causes)?
  Yes.
  If being subjected to proceedings before an allegedly
  unconstitutional decision-maker is a here-and-now injury, as
  Axon held --- then so too is it a here-and-now injury to
  allegedly lose out on core First Amendment rights.
                                *     *     *
  To see the point in sharper relief, move away for a moment from
  First Amendment issues.
  Administrative law has sometimes allowed claimants to bypass
  agency adjudicators and try to remedy harms now --- if those
  claims could not realistically be addressed later, at the moment
  when the federal court would ordinarily step in.
  In Mathews v. Eldridge, 424 U.S. 319 (1976), for example, the
  Supreme Court allowed the respondent to bring a due-process
  challenge to the lack of a pre-termination hearing for
  disability benefits --- despite the Social Security Act
  requiring the exhaustion of administrative remedies. See id. at
  327–28. In light of the respondent’s physical state and need
  for benefits, the Court observed that “an erroneous termination
  would damage him in a way not recompensable through retroactive
  payments.” Id. at 331.
  And in Kreschollek v. Southern Stevedoring Co., 78 F.3d 868 (3d
  Cir. 1996), a longshoreman got hurt on the job and was cut off
  from his disability payments. Id. at 870. The Third Circuit
  allowed him to challenge the constitutionality of part of a
  federal statute in the district court, rather than wait to be
  heard in a court of appeals after the administrative process.
  See id. Making him wait would be like having no “effective
  judicial review” at all, since the longshoreman would be without
  any income in the meantime. Id. at 874–75.



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  These harms, which seem (and are) irreparable, opened the doors
  to federal courthouses, even though that meant skipping over
  agency adjudication.
  What do harms of this sort have in common?
  The underlying principles can be boiled down in a number of
  different ways.
  But the First Circuit has captured part of the doctrine well.
  It noted that under Thunder Basin, “effective” judicial review
  becomes unavailable --- such that immediate judicial review
  makes sense --- “where the compliance costs are so onerous that
  complying with the regulation [while the administrative
  proceeding continues] will cause irreparable harm.” E. Bridge,
  LLC, 320 F.3d at 90 (collecting cases).
  If this is right, is not alleged suppression of political speech
  the archetypal “irreparable harm”? And if so, is that not an
  argument for allowing those sorts of claims to go straight to
  federal court?
                                *     *     *
  The basic remedy for unconstitutional curbs on political speech
  is an injunction, and often an early one. The harm is
  irreparable. It needs to stop now. Letting the speech
  suppression go on, with only the promise of a delayed and after-
  the-fact damages remedy --- that does not cut it.
  Cases routinely hold this. See N.Y. Times Co. v. United States,
  403 U.S. 713, 714 (1971); Schrader v. Dist. Att’y of York Cnty.,
  74 F.4th 120, 128 (3d Cir. 2023); Amalgamated Transit Union Loc.
  85, 39 F.4th at 108; Ctr. for Investigative Reporting v. Se. Pa.
  Transp. Auth., 975 F.3d 300, 317 (3d Cir. 2020); Ne. Pa.
  Freethought Soc’y, 938 F.3d at 442; Hawk, 725 F.3d at 323; K.A.
  ex rel. Ayers v. Pocono Mountain Sch. Dist., 710 F.3d 99, 113
  (3d Cir. 2013); Stilp v. Contino, 613 F.3d 405, 409 & n.4 (3d
  Cir. 2010); Swartzwelder v. McNeilly, 297 F.3d 228, 231, 242 (3d
  Cir. 2002); Abu-Jamal v. Price, 154 F.3d 128, 136 (3d Cir.
  1998); In re Asbestos Sch. Litig., 46 F.3d 1284, 1294–95 (3d
  Cir. 1994); GJJM Enters., LLC v. City of Atl. City, 293 F. Supp.
  3d 509, 520 (D.N.J. 2017); Am. Broad. Cos., Inc. v. Wells, 669
  F. Supp. 2d 483, 489 (D.N.J. 2009); Child Evangelism Fellowship
  of N.J., Inc. v. Stafford Twp. Sch. Dist., 233 F. Supp. 2d 647,
  666 (D.N.J. 2002), aff’d, 386 F.3d 514 (3d Cir. 2004); LCN
  Enters., Inc. v. City of Asbury Park, 197 F. Supp. 2d 141, 153

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  (D.N.J. 2002), as amended (Apr. 5, 2002); Lysaght v. State of
  N.J., 837 F. Supp. 646, 653–54 (D.N.J. 1993); Citizens United
  for Free Speech II v. Long Beach Twp. Bd. of Comm’rs, 802 F.
  Supp. 1223, 1237–38 (D.N.J. 1992); Telco Commc’ns, Inc. v.
  Barry, 731 F. Supp. 670, 684 (D.N.J. 1990); Gannett Satellite
  Info. Network, Inc. v. Twp. of Pennsauken, 709 F. Supp. 530, 535
  (D.N.J. 1989); E-Bru, Inc. v. Graves, 566 F. Supp. 1476, 1480
  (D.N.J. 1983).
  And this is a core commitment of our law, at work in any number
  of other ways. 68



  68 Two examples. First, another part of the First Amendment,
  the Free Exercise Clause, works in much the same way. In Roman
  Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. 14 (2020), for
  instance, the Supreme Court considered some of New York’s Covid-
  era restrictions on First Amendment–protected religious
  activity. The Court explained that the harm was “unquestionably
  . . . irreparable.” Id. at 18 (quoting Elrod, 427 U.S. at 373).
  So long as the state’s rules were in place, religious
  obligations could not be properly fulfilled. See id. at 19.
  The plaintiffs might have later won on the merits; but their
  eventual win would have come too late to undo the harm suffered
  to their religious life while time passed. So the Court moved
  to preliminarily enjoin New York’s restrictions on religious
  services, reaffirming along the way that First Amendment
  injuries are here-and-now injuries. See id. at 69. And a
  second example: in opinions on applications for emergency stays,
  Justices have routinely reiterated the urgency of First
  Amendment relief. See CBS, Inc. v. Davis, 510 U.S. 1315, 1318
  (1994) (Blackmun, J., in chambers); Neb. Press Ass’n, 423 U.S.
  at 1329; Neb. Press Ass’n v. Stuart, 423 U.S. 1319, 1323 (1975)
  (Blackmun, J., in chambers); Times-Picayune Pub. Corp. v.
  Schulingkamp, 419 U.S. 1301, 1309 (1974) (Powell, J., in
  chambers). In CBS, Inc., for instance, a state court enjoined a
  news outlet from airing footage of a meat-packing plant,
  reasoning that it was wrongfully obtained and could lead to the
  plant’s closure. See 510 U.S. at 1315–16. The news outlet then
  applied to the Supreme Court for an emergency stay, hoping to
  air the tape that evening. See id. at 1315. Sitting as a
  Circuit Justice, Justice Blackmun granted the stay.
  “[I]ndefinite delay of the broadcast will cause irreparable harm


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  Many of the cited cases are in the end simply about timing.
  Over and over again in First Amendment cases, courts issue
  injunctions --- because a person whose speech is suppressed
  cannot be asked to wait until the far end of the road for a
  remedy. The harm along the way is irreparable. It cannot be
  fixed later.
  But if it is too much to wait from the beginning of a case
  (when, say, a preliminary injunction might be entered) until its
  end (when there might be a damages payout or permanent relief) -
  -- then what of waiting months or even years for the case to get
  off the ground in the first place, while it winds its way
  through the immigration courts?
                                *     *     *
  Per the Supreme Court in Axon, bypassing administrative courts
  can be allowed when there is a “here-and-now” injury that will
  be “impossible to remedy” “once the [administrative] proceeding
  is over.” 598 U.S. at 191.
  That implies that this case should be heard, now, in federal
  court.
  First Amendment harms, as alleged here, are routinely said to
  cause “irreparable injury.” In Axon’s phrase, they cause
  injuries that are “impossible to remedy.”
  First Amendment harms, as alleged here, are often said to
  warrant preliminary and early relief. Because in Axon’s words,
  later, “once the proceeding is over,” will be too late.
  And First Amendment harms, as alleged here, are classic in-the-
  moment injuries. Axon speaks of “here-and-now” injuries. See
  id. at 191. And that is what First Amendment injuries are, and
  have always been understood to be.
  In Axon, the Supreme Court concluded, the claimants “will lose
  their rights not to undergo the complained-of agency proceedings
  if they cannot assert those rights until the proceedings are
  over.” Id. at 192.
  So too here.


  to the news media that is intolerable under the First
  Amendment,” he wrote. Id. at 1318.

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The Petitioner says his First Amendment rights are now being
violated. He will lose them and he will keep losing them if he
must wait for federal court review. In the Court’s judgment: he
does not have to. The Petitioner’s claims may or may not be
meritorious. But our law allows them to be heard, now, in
federal court.
                             *     *     *
Section 1252(b)(9) does not bar jurisdiction because it does not
apply to pre-order-of-removal cases like this one. See Part IV.
But if Section 1252(b)(9) does apply to cases like this one, it
divests jurisdiction only when later federal court review would
be “meaningful.” Here, it would not be. Therefore, Section
1252(b)(9) does not strip this Court of jurisdiction to review
the Petitioner’s challenge to the Secretary of State’s
determination. See Part V and Part VI.

VII. Section 1252(g)

Move on now to another statute.
The Respondents say that Section 1252(g) prevents consideration
of the Petitioner’s First Amendment claim as to the Secretary’s
determination. See Opposition Brief at 14.
Section 1252(g) reads:
          [N]o court shall have jurisdiction to hear
          any cause or claim by or on behalf of any
          alien arising from the decision or action by
          the Attorney General to commence
          proceedings, adjudicate cases, or execute
          removal orders against any alien under this
          chapter.
8 U.S.C. § 1252(g).
The Supreme Court construed this provision in AADC --- and
narrowly.
The Supreme Court rejected the parties’ understanding of Section
1252(g) “as covering all or nearly all deportation claims.”
AADC, 525 U.S. at 478. Unlike Section 1252(b)(9), Section
1252(g) was not an expansive “zipper clause.” Id. at 482.
          In fact, what § 1252(g) says is much
          narrower. The provision applies only to

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          three discrete actions that the Attorney
          General 69 may take: her decision or action to
          commence proceedings, adjudicate cases, or
          execute removal orders.
Id. at 482 (emphasis in original) (cleaned up).
AADC’s view of Section 1252(g) as a tightly drawn provision has
been reaffirmed by a Supreme Court plurality. See Jennings, 583
U.S. at 841 (AADC “did not interpret [Section 1252(g)’s]
language to sweep in any claim that can technically be said to
‘arise from’ the three listed actions of the Attorney General.
Instead, we read the language to refer to just those three
specific actions themselves.”).
And the Third Circuit has landed on the same approach,
emphasizing just how narrow-gauged Section 1252(g) is. See Tazu
v. Att’y Gen. U.S., 975 F.3d 292, 296 (3d Cir. 2020) (“Section
1252(g) does not sweep broadly. It reaches only these three
specific actions, not everything that arises out of them.”); see
also, e.g., Chehazeh, 666 F.3d at 133-35; Garcia v. Att’y Gen.
of U.S., 553 F.3d 724, 728-29 (3d Cir. 2009).
                             *     *     *
Section 1252(g) does not bar consideration here of the Secretary
of State’s determination.
The reason is this: the determination is not one of the “three
specific actions,” Tazu, 975 F.3d at 296, covered by the
statute, and it is not an exercise of “prosecutorial
discretion.” AADC, 525 U.S. at 489.
                             *     *     *
Cross the last two “specific actions” off the list.
The Secretary of State’s determination is not “a decision or
action” to “execute,” 8 U.S.C. § 1252(g), a removal order.
Indeed, no such order has been entered.



69 The reference to “Attorney General” should now be read as
“Secretary of Homeland Security,” given the post-Section 1252(g)
creation of the Department of Homeland Security. See Johnson v.
Guzman Chavez, 594 U.S. 523, 527 n.1 (2021); La. Forestry Ass’n
Inc. v. Sec. U.S. Dep’t of Lab., 745 F.3d 653, 660 n.3 (3d Cir.
2014); 6 U.S.C. § 557.
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And the Secretary’s determination is not “a decision or action”
to “adjudicate” a case. Id. The Secretary is not a judicial
officer, and the relevant statutes do not suggest he has the
power to control immigration judges.
                             *     *     *
Come now to the last of the three “specific actions.”
Is the Secretary of State’s determination a “decision or action
by the [the Secretary of Homeland Security] to commence
proceedings”?
To ask this question is to answer it.
The determination is an “action.” See Part IV.A.3(a). But it
is an action by the Secretary of State, not what Section 1252(g)
requires: an “action by the [Secretary of Homeland Security].”
There is no way to whistle past this textual problem. See Est.
of Cowart v. Nicklos Drilling Co., 505 U.S. 469, 476 (1992)
(referencing the “basic and unexceptional rule that courts must
give effect to the clear meaning of statutes as written”).
The textual problem cinches things --- and it is also a surface
indication of a deeper issue.
Per the Supreme Court, Section 1252(g)’s aim was to give the
Secretary of Homeland Security the space she needs to make the
choices she must --- about enforcement priorities, for example,
or allocation of finite resources. These are classic questions
of prosecutorial discretion, and they are generally for
prosecutors to work through for themselves.
Per the Supreme Court: “Section 1252(g) was directed against a
particular evil: attempts to impose judicial constraints upon
prosecutorial discretion.” AADC, 525 U.S. at 485 n.9. 70
But the Secretary of State does not exercise prosecutorial
discretion here. He takes his step --- he makes his
determination --- and then it is over to the Secretary of
Homeland Security, for her to make her choice.


70 See generally United States v. Texas, 599 U.S. 670, 679
(2023) (noting that the “principle of enforcement discretion
over arrests and prosecutions extends to the immigration
context,” and describing the “problems raised by judicial review
of the Executive Branch’s arrest and prosecution policies”).
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There were, in short, two distinct moving pieces here --- (a)
the Secretary of State’s determination as to the Petitioner, and
then (b) the act of “prosecutorial discretion” that followed.
Section 1252(g), by its terms, covers only (b). But what the
Petitioner is challenging is (a).
The two distinct steps are there on the face of the Secretary’s
memo, which marks the handover from the Secretary of State’s
area of responsibility to the Secretary of Homeland Security’s.
The memo is addressed from him to her.       See Determination at 1.
It reports the Secretary of State’s conclusion. See id. (“I
have determined that . . . [the Petitioner] . . . [is a]
deportable alien[.]”).
And it then looks to the next steps --- which are the Secretary
of Homeland Security’s to undertake. See id. (“I understand
that [a Homeland Security component] now intends to initiate
removal charges[.]”).
And all of this makes sense under the various relevant statutes.
A Section 1227(a)(4)(C)(i) determination from the Secretary of
State makes a noncitizen “deportable.” 8 U.S.C.
§ 1227(a)(4)(C)(i).
“Deportable” means can be deported, “[]able” to be deported.
Who then decides whether someone who can be deported will be
removed? The Secretary of Homeland Security.
          Any alien . . . in and admitted to the
          United States shall, upon the order of the
          [Secretary of Homeland Security], be removed
          if the alien is within one of more of the
          following classes of deportable aliens.
8 U.S.C. § 1227(a) (emphasis added). 71



71 In exercising her power, the Secretary of Homeland Security
generally has wide discretion. See, e.g., Arizona v. United
States, 567 U.S. 387, 396 (2012); AADC, 525 U.S. at 483-84;
Texas v. United States, 809 F.3d 134, 165-66 (5th Cir. 2015);
Martinez-Garcia v. Ashcroft, 366 F.3d 732, 735 (9th Cir. 2004);
Costa v. INS, 233 F.3d 31, 37 (1st Cir. 2000).

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In a nutshell: the Secretary of State’s determination was its
own step; it was taken separate from, and before, the Secretary
of Homeland Security’s “decision or action to commence
proceedings.” AADC, 525 U.S. at 482 (cleaned up).
But jurisdiction is stripped by Section 1252(g) only as to the
decision made by the Secretary of Homeland Security, see id. ---
and the Petitioner’s challenge here is not to that. Rather, it
is to the earlier decision, made by the Secretary of State.
Jurisdiction is not stripped. See, e.g., N. Am. Butterfly
Assoc. v. Wolf, 977 F.3d 1244, 1260 (D.C. Cir. 2020); Jafarzadeh
v. Nielsen, 321 F. Supp. 3d 19, 29 (D.D.C. 2018); Young Sun Shin
v. Mukasey, 547 F.3d 1019, 1024 (9th Cir. 2008); Wong v. United
States, 373 F.3d 952, 965 (9th Cir. 2004), abrogated on other
grounds by Wilkie v. Robbins, 551 U.S. 537 (2007); Humphries v.
Various Fed. USINS Emps., 164 F.3d 936, 944 (5th Cir. 1999);
Castellar v. Nielsen, 2018 WL 786742, at *10 (S.D. Cal. Feb. 8,
2018); Abdur-Rahman v. Napolitano, 814 F. Supp. 2d 1087, 1096
(W.D. Wa. 2010); Hafeez v. Dorochoff, 2007 WL 4300582, at *2
(N.D. Ill. Nov. 30, 2007); cf. Tazu, 975 F.3d at 298.

VIII.     The Policy

The Court has considered and rejected the Respondents’ argument
that, under Section 1252(b)(9) and Section 1252(g), it lacks
jurisdiction over the Petitioner’s challenge to the Secretary of
State’s determination. See Part IV to Part VII.
Citing the same statutes, the Respondents also say there is no
jurisdiction over the Petitioner’s request for an injunction to
stop a certain alleged policy. See Opposition Brief at 1, 8,
14.
This argument does not work.     To see why, start with the
background.
                             *     *     *
The Petitioner alleges that the Respondents have “adopted a
policy . . . to retaliate against and punish noncitizens like
[the Petitioner] for their participation in protests concerning
Israel’s military campaign in Gaza.” Petition ¶ 2.
In particular:
          On or before March 8, 2025, Respondents
          adopted the Policy by which they would

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            retaliate against and punish noncitizens
            like [the Petitioner] for their
            participation in protests concerning
            Israel’s military campaign in Gaza. Under
            the Policy, Respondent Rubio, the Secretary
            of State, would make determinations that the
            protestors’ presence or activities in the
            United States would have potentially serious
            foreign policy consequences for the United
            States and would compromise a compelling
            United States foreign policy interest.
            These determinations would then permit the
            Department of Homeland Security to seek to
            detain and deport the protestor.
Id. ¶ 44.

Per the Petitioner, he was detained by federal officials “as a
first implementation of the policy and a ‘blueprint’ for future
investigations and deportations of prominent student activists.”
Id. at 13 (cleaned up).

The alleged policy, in short, is broader than the Secretary’s
determination as to the Petitioner, since it is said to include
determinations as to others. It is also broader than the
Petitioner’s detention, since it is said to envision detention
of others.
                             *     *     *
The argument that Section 1252(b)(9) and Section 1252(g) strip
jurisdiction as to the alleged policy is not persuasive.
This is for the reasons explained above as to the Secretary’s
determination, see Part IV to Part VII, plus some others.
These do not need to be belabored, but tick through them quickly
here.
First, while the Secretary’s determination amounts to a Section
1252(b)(9) “action,” see Part IV.A.3(a), it is a good deal
harder to say that a policy is an “action” --- especially a
policy that, as alleged, does not have sharply marked edges.
Cf. Opposition Brief at 8 (describing the alleged policy as “an
ill-defined initiative”).
Second, if Section 1252(b)(9) applies here, meaningful fact-
finding as to the policy will be harder yet in the immigration

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courts. See Part VI.B. The policy, for example, is broader
than the Secretary’s determination, and therefore could require
discovery as to a broader range of subjects. 72
Third and finally, Section 1252(g) focuses on exercises of
“prosecutorial discretion.” See Part VII. But the alleged
policy is an extra step removed from the decision of the
Department of Homeland Security to initiate removal proceedings
here. The Secretary of State’s determination came before the
Department of Homeland Security’s removal-proceedings decision.
And the policy is alleged to predate the determination.
                             *     *     *
In short, there is no jurisdictional bar to the Court taking up
here the Petitioner’s request for an injunction to stop the
alleged policy. 73

72 Fact-finding complexities may be part of why courts routinely
hold that claims about a broad government policy --- like the
one alleged here --- are not barred by Section 1252(b)(9), and
therefore should go forward in federal court from the start.
See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591
U.S. 1, 19 (2020); Texas v. United States, 126 F.4th 392, 417
(5th Cir. 2025); Casa de Md. v. U.S. Dep’t of Homeland Sec. 924
F.3d 684, 697 (4th Cir. 2019); Nava v. Dep’t of Homeland Sec.,
435 F. Supp. 3d 880, 885–86, 895 (N.D. Ill. 2020); O.A., 404 F.
Supp. 3d at 135–38; cf. Daud v. Gonzales, 207 F. App’x 194, 200
(3d Cir. 2006).
73 The Respondents also invoke another jurisdictional bar, 8
U.S.C. § 1226(e), but only as to the Petitioner’s request for an
injunction to release him from detention.   See Opposition Brief
at 20–21. This has no bearing here now. Section 1226(e) bars
judicial review as to detention “under this section,” a section
that covers detention “pending a decision on whether the alien
is to be removed from the United States.” 8 U.S.C. § 1226(e)
(emphasis added); see generally e.g., Jennings, 583 U.S. at 306;
Velasco Lopez v. Decker, 978 F.3d 842, 848 (2d Cir. 2020);
Quinteros v. Warden Pike Cnty. Corr. Facility, 784 F. App’x 75,
76–77 (3d Cir. 2019); Hernandez v. Sessions, 872 F.3d 976, 981–
82 (9th Cir. 2017); Padilla-Ramirez v. Bible, 882 F.3d 826, 829–
30 (9th Cir. 2017); Sylvain v. Att’y Gen. of U.S., 714 F.3d 150,
154 (3d Cir. 2013); Castellano v. Holder, 337 F. App’x 263, 268
n.3 (3d Cir. 2009); Gayle v. Napolitano, 2013 WL 1090993, at *2


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IX.   Conclusion

In circumstances like this one, federal courts have recently
split as to whether jurisdiction is stripped. Compare Taal v.
Trump, 2025 WL 926207, at *2 (N.D.N.Y. Mar. 27, 2025) (yes),
with Ozturk v. Trump, 2025 WL 1145250, at *15 (D. Vt. Apr. 18,
2025) (no).
This Court concludes that jurisdiction is not stripped over the
Petitioner’s claims that the Secretary of State’s determination
and the alleged policy are unconstitutional.
Section 1252(b)(9) is irrelevant. It takes away federal
district court jurisdiction only after an order of removal has
been entered. But none has been entered here. See Part IV.
And even if Section 1252(b)(9) might apply when, as here, no
order has been entered, that provision strips jurisdiction only
when delayed review would amount to “meaningful review.”   See
Part V. Here, it would not. See Part VI.
As to Section 1252(g), that pulls away jurisdiction over
“specific actions” by the Secretary of Homeland Security --- not
over actions by the Secretary of State, like his determination
here, and not over across-the-board policies, like the one
alleged here. See Part VII and Part VIII.
This Court has habeas jurisdiction over this case. See Khalil,
2025 WL 1019658. And as set out in this Opinion, that
jurisdiction is intact. It has not been removed.


(D.N.J. Mar. 15, 2013); Baguidy v. Elwood, 2012 WL 5406193, at
*4 (D.N.J. Nov. 5, 2012). If the Court holds that the
Constitution forbids removal of the Petitioner based on a
particular charge, then, apart from an appeal from that holding,
there will no longer be a “pending . . . decision on whether the
alien is to be removed from the United States” --- because the
“decision” would have been made by this Court’s determination
that it would be unconstitutional to remove him. Therefore, at
that point, there will be no available argument that Section
1226(e) bars release. To be sure, Section 1226(e) might be
relevant if the Court were to consider ordering the release of
the Petitioner without first finding that a charge against him
is unconstitutional. But that circumstance can be addressed
when and if it comes up.

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